       Case 18-23134-GLT                         Doc 23             Filed 08/30/18 Entered 08/30/18 15:54:10                          Desc Main
                                                                   Document      Page 1 of 58
nil in this infonnauon to identify your case:
 Debtor 1                James A. Orlando, II
                         Rrst Name                        Made Name             Last Name
Debtor 2                 Nicole M. Orlando
ISrouse     S re)        F rat ta—a                       M;a: a Name           Last Name

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF PENNSYLVANIA

Case number         18-23134
                     -




Of known)                                                                                                                              Check if this is an
                                                                                                                                C
                                                                                            -
                                                                                                                                       amended filing


Official Form lO6Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, bath are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you fiie
your original forms, you must fill out a new Summary and check the box at the top of this page.

 -.           Summarize Your Assets          -            -




                                                                                                                                      Your assets
                                                                                                                                      Value of what you own
 1     Schedule A/B: Property (Official Form 1O6NB)
       1 a. Copy line 55, Total real estate, from Schedule A/B                                                                        $                      497,000.00

       lb. Copy line 62, Total personal property, from Schedule NB                                                                    $        -.




       lc. Copy me 63. Total of all      property   on Schedule NB                                                                    $                      545,170.50

              Summarize Your Liabilities

                                                                                                                                      Your liabilIties
                                                                                                                                      Amount you owe
2.     ScheduleD: Creditors Who Have Claims Secured by Property (Official Form 1 06D)
       2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...          $                      596039.94

3.     Schedule ElF: Creditors Who Have Unsecured Claims (Official Form 106E/F)
       3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule ElF                                 $    -            --
                                                                                                                                                                      0.0

       3b. Copy the total claims from Part 2 (nanpriority unsecured claims) from line 6j of Schedule ElF                              $                      274,298.20

                                                                                                                               F...                             -




                                                                                                        Your total liabilities’ $          —




Summarize Your Income and Expenses                                   -
                                                                                                                                                    -




4.     Schedule I: Your Income (Officmal Form 1061)
       Copy your combined monthly income from line 12 of Schedule I                                                                    $   —
                                                                                                                                                        -,          8 5980

 5.    Schedule J: Your Expenses (Official Form 1 06J)
       Copy your monthly expenses from line 22c of Schedule J                                                                                                   6 839 00

Answer These Questions for AdminIstrative and Statistical Records                                          —         ...
                                                                                                                                —




6.    Are you filing for bankruptcy under Chapters 7,11, or 13?
           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

       • Yes
 7.    What kind of debt do you have?

       Q      Your debts are primarily consumer debts. Consumer debts are those ‘incurred by an individual primarily for a personal, family, or
              household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

       •    Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form l06Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
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                                             .                                                                                                 Best     case   Bankruptcy
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                                                                   Document      Page 2 of 58
             James A. Orlando, II
Debtor 2     Nicole M. Orlando                                                            Case number (if known) 18-23134

8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
      122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $        -




9.    Copy the following special categories of claims from Pan 4, lIne 6 of Schedule ElF:

                                                                                                        Total claim
      From Pan 4 on Schedule ElF, copy the following:

      9a. Domestic support obligations (Copy line Ga.)                                                   $       -—         0.00

      9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $                  000

      9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $       -          0.00

      9d. Student loans. (Copy line 6f.)                                                                 $   -       ——
                                                                                                                            0.00

      Ge. Obligations arising out of a separation agreement or divorce that you did not report as
          priority claims. (Copy line 6g.)                                                               $                  0.00

      9f. Debts to pension or profit-sharing pians. and other similar debts. (Copy line 6h.)            +5           -      0.00


      9g. Total. Add lines 9a through 9f.                                                           S                     0.00




Official Form lO6Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                             page 2 of 2
Software copyrtghf Ic) 1996-2017 Best case, LLc wv,, bestcase cm
                                             -                                                                                                  Best   case   Oankrupfty
       Case 18-23134-GLT                                    Doc 23           Filed 08/30/18 Entered 08/30/18 15:54:10                                                   Desc Main
                                                                            Document      Page 3 of 58
Fill In this information to identify your case and this filing:
Debtor 1                      James A. Orlando, II
                              First Name                              M’ddto Nomo                         Last Name
 Debtor 2                     Nicole M. Orlando
(Soc_se   if   f I ng         F   Na-ie                               Mote Nate                           Last Name

 United States Bankruptcy Court for the:                     WESTERN DISTRICT OF PENNSYLVANIA

Case number                 18-23134                                                                                                                                      C   Check if this is an
                                                    -        -   -
                                                                                                                       ——_________________________                            amended filing


Official Form 106A/B
Schedule AIB: Property                                                                                                                                                                   12/15
In each category, separately list and describe items. List an asset only once. If an asset fits In more than one category, list the asset In the category where you
think it fits best. Be as complete and accurate as possible. ii two married people are filing together, both are equally responsible for supplying correct
information. if more space Is needed, attach a separate sheet to this form, On the top of any additional pages, wrIte your name and case number (if known).
Answer every question.

tmim Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an interest in

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

  C   No Go to Part 2.
  • Yes 1ere is the property?




                                                                              What is the property? Cnec a Thai a,oy
      31 OWindsorAvenue
      S:reel ac&eaa, if ava abe c’ other des:’
                                                -   -


                                                        -                           •    irgtesam:iy home                                     Do rot ceduct secured claims or exemptions Pjt
                                                                                                                                              the amount Cf any secured claims on Schedule 0
                                                                                         Dup I ex or nut-un -t b
                                                                                                              ci, 9
                                                                                    C                              .


                                                                                                                                              Creditors Who Have Claims Secured by Property
                                                                                         Condominium or cooperative


                                                                                    C    Manufactureo or mob :e home
                                                                                                                                              current value of the        current value of the
      Coraopolis                           PA           15108-0000                  C    Land                                                 entire property?            portion you own?
      Cay               -                  State            2l?Ccce                 C    investmentproperw                                           $201000.00                   $201000.00
                                                                                    C    Timeshare
                                                                                                                                              Describe the nature of your ownership interest
                                                                                    C    Diher              —                 —   —   —
                                                                                                                                          —   (such as fee simple, tenancy by the entireties, or
                                                                              Who has an interest In the property? Check one                  a life estate), if known,
                                                                               C Debtor 1 only                                                Fee simple                                 -




      Allegheny                                                                     C    Debtor 2 only
      county                                                                        I Debtor 1 and Debtor 2 only
                                                                                                                                                   check if this is community property
                                                                                    C    At east one of the debtors and another
                                                                                                                                              C    (see instructional
                                                                              Other information you wish to add about this item, such as local
                                                                              property identification number:




Official Form 1CGA/B                                                                    Schedule NB: Property                                                                                page 1
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                                                        -                                                                                                                        Best Case Bankruptcy
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Debtor 2           Nicole M. Orlando                                    -              -       -.   -   -   -
                                                                                                                  -                      Case number (ffknown)     18-23134

      If you own or have more than one, list here:
1.2                                                                                   What Is the property? Check all that apply
      1319 Barr Avenue                                             ..                      •                    home                           Da not deduct secured claims or exemptions. Put
      Street address, if available, or other description                                                                                       the amount of any secured claims on Schedule 0.
                                                                                               Duplex or multi-unit building
                                                                                           C                                                   Creditors Who Have Claims Secured by Property
                                                                                               Condominium or cooperative

                                                                                           C   Manufactured or mobile home
                                                                                                                                               current value of the         current value of the
      Pittsburgh                               PA       15205-0000                             Land                                            entire property?             portion you own?
      City                                     State             ZIP Code                  C   investment properly                                    $110,000.00                   $110,000.00
                                                                                           C   Timeshare
                                                                                                                                               Describe the nature of your ownership Interest
                                                                                           C   Other                                           (such as fee simple, tenancy by the entireties, or
                                                                                      Who has an interest in the property? Check one           a life estate), if known.
                                                                                           C   Debtor 1 only                                    Fee simple
      Allegheny                        -                                                   C   Debior 2 only
      County                                                                               •   Debior I and Debtor 2 only
                                                                                                                                                  check if this Is community property
                                                                                           C   At least one of the debtors and another
                                                                                                                                                C feee instructions)
                                                                                      Other information you wish to add about this item, such as local
                                                                                      property identification number:




      If you own or have more than one, list here:
1 3                                                                                   What is the property? Check all that apply
      5515 Second Avenue                            —    -   —

                                                                                           C   Single-family home                               Do not deduct secured claims or exemptions. Put
      Street address,    if   available, or other description                                                                                   the amount of any secured claims on Schedule 0:
                                                                                           •   Duplex or multi-unit building
                                                                                                                                                Creditors Who Have Claims Secured by Property
                                                                                               Condominium or cooperative
                                                                                           C
                                                                                           C   Manufactured or mobile home
                                                                                                                                                Current value of the        Current value of the
      Pittsburgh                           -   PA       15207-0000                         C   Land                                             entire property?            portion you own?
      City     -    ——                         State             ZIP Code                  C   investment properly                                                                   1 6,000MO
                                                                                           C   Timeshare
                                                                                                                                                Describe the nature of your ownership interest
                                                                                           C   Other                      -                     (such as fee simple, tenancy by the entireties, or
                                                                                      Who has an interest in the property? Check one            a life estate), if known.
                                                                                           C   Debtor I only                                    Fee simple              -     -




      Allegheny                                                             -
                                                                                —-         C   Debtor 2 only
      County                                                                               •   Debtor 1 and Debtor 2 only
                                                                                                                                             Check if this is community property
                                                                                           C At least one of the debtors and another
                                                                                                                                         C (sea  instructions)
                                                                                      Other information you wish to add about this item, such as local
                                                                                      property identification number:




Officiai Form 1O6NB                                                                        Scheduie NB: Property                                                                               page 2
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                James A. Orlando, II
Debtor 2        Nicole M. Orlando                                                                                                  Case number (if known)          18-23134

      If you own or have more than one, list here:
1 4                                                                                 What is the property? Check all that apply
      2719 SacramefltO                 AVeflUO             —


                                                                                      •    Single-family home                             Do not deduct secured claims or exemptions. Put
      Sireet addreaa, if   available. or other description                                                                                the amount of any secured Claims on Schedule Ui
                                                                                           Duplex or multi-unit building
                                                                                      C                                                   Creditors Who Have Claims Secured by Property.
                                                                                           Condominium     or cooperative


                                                                                      C    Manufactured or mobile home
                                                                                                                                          current value of the          Current value of the
      Pittsburgh                    ——    PA          -   15204-0000                  C Land                                              entire property?              portion you own?
      City                                Slate                ZIP Code               C investment property                                       $60!000.00                     $60,000.00
                                                                                       C   Timeshare
                                                                                                                                          Describe the nature of your ownership interest
                                                                                       C Other                                            (such as fee simple, tenancy by the entireties, or
                                                                                    Who has an Interest In the property? Check one        a lire estate), If known.
                                                                                     C Debtor 1 only                                      Fee simple
      Allegheny                                                                        C   Debtor 2 only
      County                                                                           •   Debtor 1 and Debtor 2 only
                                                                                                                                              Check if this Is community property
                                                                                       C At least one of the debtors and another          C   (aee inaiructional

                                                                                    Other information you wish to add about this item, such as local
                                                                                    property identification number:




      If you own or have more than one, list here:
1.5                                                                                 What is the property? Check all that apply
      3112 Ashlyn Street                 —     —


                                                          --        —
                                                                                           Sngle.family home                              Do not deduct secured claims or exemptions. Put
      Street addreaa, it available, or other deacription
                                                                                           Duplex or multi-unit building                  the amount of any secured claims on Schedule U:
                                                                                       C                                                  Creditors Who Have Claims Secured by Property.
                                                                                           Condominium or cooperative
                                                                                       C
                                                                                       C Manufactured or mobile      home
                                                                                                                                          Current value of the          Current value of the
       Pittsburgh                         PA      -       15204-0000                   C Land                                             entire property?              portion you own?
      City                                State                ZIP Code                C investment property                                       $60,000.00           -        $60,000.00
                                                                                       C Timeshare                                        Describe the nature of your ownership interest
                                                                                       C Other                                       —    (such as fee simple, tenancy by the entireties, or
                                                                                    Who has an interest in the property? Check one        a life estate), If known.
                                                                                     C Debtor 1 only                                      Fee simple
      Allegheny                                                           -—   -       C Debtor2 only
      County                                                                           •   Debtor 1 and Debtor 2 only
                                                                                       C   At least one of the debtors and another     C Check      If this is community property
                                                                                                                                           ieee instructiona)
                                                                                    Other information you wish to add about this item, such as local
                                                                                    property Identifloation number:




Official Form 1 O6NB                                                                    Schedule NB: Property                                                                             page 3
Soitware Copyright (c) 1996-2017 Beat Case, LLC            -yew bestcaae.com                                                                                                   Best Case Bankruptcy
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Debtor 2              Nicole M. Orlando                                                                                          Case number (it known)    18-23134

           If you own or have more than one, list here:
16                                                                             What Is the property? Cheek all that    apply
           2215 Eastlawn Parkway                                                       Single-family home                               Do not deduct secured claims or exemptions. Put
                                                                                  •
           Street addresa, if avaiable, or other description                                                                            the amount of any secured claims on ScheduleD-
                                                                                       Duplex or multi-unit building
                                                                                                                                        Creditors Who Have Claims Secured by Property
                                                                                       Condominium or cooperative

                                                                                  C    Manufactured or mobile home
                                                                                                                                                                   current value of the
                                                                                                                                        Current value of the
           Erie                                 PA      16510-0000                C    Land                                             entire property?           portion you own?
           City                                 State          ZIP Cods           C Investment property                                         $50,000.00                  $50000.00
                                                                                  C Timeshare
                                                                                                                                        Describe the nature of your ownership interest
                                                                                  C Other                                               (such as fee simple, tenancy by the entireties, or
                                                                               Who has an Interest In the property?        Check one    a life estate), if known.
                                                                                C Debtor 1 only                                         Fee simple
           Erie                                                                   C    Debtor 2 only
           Counly                                                                 •    Debtor 1 and Debtor 2 only
                                                                                                                                      check it this is community property
                                                                                  C   At least one of the debtors and another         (see instnctions)
                                                                               Other information you wish to add about this item, such as local
                                                                               property Identification number:




2.        Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
          pages you have attached for Part 1. Write that number here                                                                                                    $497,000.00

IFTjW Describe Your Vehicles

Do you own, lease, or have legal or equitable Interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule C: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

     CNo
     • Yes


     31      Make:         Mazda                                                                                                        Do r,ot decuct secured claims or exempt.ons Put
                                                                          Who has an Interest in the property?      Check era
                                                                                                                                        me amount of any secured claims on Schedule C:
             Mode          CXS                                            C Debtor I on                                                 Credilors V/ho Have Claims Secured by Property
             Yea’          2015                                           C   Debtor 2 on;y
                                                                                                                                        Current value of the       Current value of the
             Approx mate mileage:                                         • Debtor 1 and Debtor 2 orly                                  entire property?           portion you own?
              Ctrer nfo’mation                                            C At east one of the oebtors and another

                                                                          C   check it this Is community property                               $12,000.00                   $12,000.00
                                                                               see nsir.ctcns)



                           Kawasaki                                       Who has an Interest In the property?                          Do not deduct secured claims or exemptions Put
     32       Make                                                                                                  Check one
                                                                                                                                        the amount of any secured claims on ScheduleD
              Model        Ninja                                          C   Debtor I only                                             Credilors Who Have Claims Secured by Property
              Year         2009     ,   —   -
                                                                          C   Debtor 2 only                                              Current value of the      Current value of the
             Approximate mileage                                          • Debtor I and Debtor 2 only                                   entire property?          portion you own?
              Other information.                                          C   At least one of the debtors and another

                                                                          C   Chock If this is community property                                   $500.00                      $500.00
                                                                              Isee instructionsi




Official Form 106N8                                                                 Schedule NB: Property                                                                             page 4
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Debtor 2        NicoleM. Orlando                  -        --    -            -                        Case number (if known)   18-23134

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

  • No
      Yes



5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  pages you have attached for Part 2. Write that number here                                                                               $12,500.00


IS, i’a Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                  Current value of the
                                                                                                                                   portion you own?
                                                                                                                                   Do not deduct secured
                                                                                                                                   claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
   CNo
   • Yes. Describe


                                   [Attached                             -—
                                                                                                                                                $1,530 00


7. Electronics
   Examples:Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
               including cell phones, cameras, media players, games
   CNo
    • Yes. Describe

                                    [see Attached                                                                                                  $570.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other ad objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
   • No
       Yes. Describe

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
   DN0
    • Yes. Describe

                                    [See Attached                                                                                                  $150.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    • No
    D Yes. Describe
11. Clothes
     Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
    • Yes. Describe

                                    j_Everyy Clothes                 -
                                                                                                                                                   $500.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    DNo
Official Form 1O6NB                                                           Schedule A/B: Property                                                    page 5
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Garage                                               Personal Items
Motorcycle       500                                 Wedding Ring        2000
Lawnmower        25                                  Jamie’s Ring        20
4 bicycles       50
2 Golf sets      75
                                                     Electronics
Basement                                             Samsung TV          25
Desk             20                                  HP Computer         so
Treadmill        50                                  Dell Laptop         50
Cabinet          25                                  HP Printer          20
TV Stand         25                                  Samsung tablet      25
                                                     LGTV                100
Dining room                                          Samsung DVD         25
TaNe/6 chairs     100                                Samsung TV          100
Curio Cabinet     100                                Samsung TV          20
Cabinet            25                                Dell Laptop         50
                                                     Sony receiver       50
Kitchen                                              Xbox                30
Table/4 Chairs          25                           Speakers            25
Deck
Table/6 chairs          25
                                                     Appliances
Family Room                                          Maytag Washer        50
Couch       30                                       Maytag Dryer         50
                                                     Kenmore Stove        50
Living Room                                          Kenmore dishwasher 30
Fish Tank        100                                 Kenmore refrigerator 100
Piano            100                                 GE microwave         25
Couch            100
Cthck            100
Bench            25
End Table        25

Bedroom     #2
Loft Bed         75
Dresser          50

Bedroom     #
Bed              50
Dresser          25

Bedroom     #4
Futon            25
TV Stand         10

Master Bedroom
Bed          25
Dresser      25
Dresser      25
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     • Yes. Describe

                                    Weddinu Rino                                                                                                     $2,000.00


                                   yyday Jewelry                                                                                                       $250.00


13. Non-farm animals
     Examples Dogs, cats, birds, horses
   CNo
    • Yes. Describe

                                   rw&i;:                                                                                                              $500.00


                                   LHouse Cats                                                                          I
14. Any other personal and household Items you did not already list, including any health aids you did not list
     • No
     D Yes. Give specific informatian

15. Add the dollar value of all of your entries from Part 3, Including any entries for pages you have attached
    for Part 3. Write that number here                                                                                                           $5,500.00


itca Describe Your Financial Assets
Do you own or have any legal or equitable interest In any of the following?                                                             Current value of the
                                                                                                                                        portion you own?
                                                                                                                                        Do not deduct secured
                                                                                                                                        claims or exemptions.

16    Cash
       Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     ONo
     •Yes

                                                                                                             Cash                                        $50.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts certificates of deposit shares in credit unions, brokerage houses, and other similar
                      institutions. If you have multiple accounts with the same institution, list each,
         No
     • Yes......................                                           Institution name:


                                     17.1.       Checking                  Citizens Bank                                                               $166.35


18    Bonds, mutual funds, or publicly traded stocks
      Examples: Bond funds, investment accounts wth brokerage firms. money market accounts
     • No
     DYes                                    Institution or issuer name:

19. Non-publicly traded stock and interests in Incorporated and unincorporated businesses, including an Interest In an LLC, partnership, and
     joInt venture
   C No
    • Yes Give specific information about them...................
                                 Name of entity:                                          % of ownership:



Official Form IO6NB                                                   Schedule A/B: Property                                                                page 6
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                                             -                                                                                                  Best case Bankruptcy
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Debtor 2       Nicole M. Orlando                                                                          Case number (if known)   18-23134


                                        Orlando Property Group LLC                                              100         %                           $0.00


                                        Sinfully Artistic, LLC


                                        Artevino,LLc                                                             50


                                        OrjAccountln                Services, LLC                               100     —
                                                                                                                                                        $00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
      Negotiable instruments include personal checks, cashiers checks, promissory notes, and money orders.
      Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    ft No
       Yes. Give specific information about them
                                   Issuer name:

21. Retirement or pension accounts
     Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
      No
    • Yes. List each account separately.
                               Type of account:                 Institution name:

                                     401(k)                             Fidelity                                                                 $23,233.15


                                     401(k)                             Ameñcan Funds                                                              $5000


                                     401(k)                             Waddell & Reed                                                               $821.00


22. Security deposIts and prepayments
     Your share of all unused deposits you have made so that you may continue service or use from a company
     Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    I No
       Yes                                                              Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    • No
   C Yes                  Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. § 530(b)(1), 529A(b), and 529(b)(1).
    • No
    C Yes                 Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests In property (other than anything listed in line 1), and rights or powers exercisable for your benefit
    • No
    C Yes. Give specific information about them..,
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
     Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    • No
   C Yes. Give specific information about them...
27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
   • No
   C Yes Give specific information about them...
Official Form 106N6                                                 Schedule NB: Property                                                                page 7
Software copyright Ic) 1996-2017 Best case, LLC www bostoase corn                                                                             Bess case Bankruptcy
        Case 18-23134-GLT                         Doc 23             Filed 08/30/18 Entered 08/30/18 15:54:10                               Desc Main
                                                                    Document     Page 11 of 58
 Debtor 1       James A. Orlando, II
 Debtor 2       Nicole M. Orlando                                                                                 Case number (if known)   18-23134

 Money or property owed to you?                                                                                                              Current value of the
                                                                                                                                             portion you own?
                                                                                                                                             Do not deduct secured
                                                                                                                                             claims or exemptions
28. Tax refunds owed to you
    • No
    DYes. Give specific information about them, including whether you already fited the returns and the tax years


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   I No
   C Yes. Give specific information

30 Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay. workers’ compensation. Social Secunty
              benefits; unpaid loans you made to someone else
   • No
    oYes. Give specific information

31. interests in insurance policies
     Examples: Heath, disabilty. or life insurance; health savings account (HSA): credt, homeowners, or renters insurance
   CN0
    • Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                           Beneficiary:                                         Surrender or refund
                                                                                                                                              value:

                                         UPMC Health                                                                                                             $0.00


                                         Life insurance
                                                                                                                                                                 $0.00


32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive oroperty because
     someone has died.
    • No
   C Yes. Give spedf.c information..

33, Claims agaInst third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
   • No
    C   Yes. Describe each claim

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
    • No
   C Yes. Describe each claim
35. Any financial assets you did not already list
    • No
    0 Yes. Give specific information..

 36. Add the dollar value of all of your entries from Part 4, Including any entries for pages you have attached
     for Pan 4. Write that number here                                                                                                                S30,1 70.5 0


LFGLa Describe Any BuslnessRelated Property You Own or Have               an Interest In. List   any real estate In Part 1.

37. Do you own or have any legal or equitable Interest in any bualness-retated property?
   • No. Go to Part 6.
Official Form 106A/B                                           Schedule AJB: Property                                                                            page 8
software copyright cl 1996.2017 Beet case, tic .www bestoase corn                                                                                     Best case Bankruptcy
         Case 18-23134-GLT                        Doc 23         Filed 08/30/18 Entered 08/30/18 15:54:10                               Desc Main
 Debtor I
                                                                Document     Page 12 of 58
                James A. Orlando, II
 Debtor2         Nicole M. Orlando                                                                        Case number (,fkncwr.)   16-23134

   C Yes. Go to l:re   36



irita Describe Any Farm. and Commercial Fishing-Related Property You Own or Have an Interest In.
      If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable Interest in any farm- or commercial fishing-related property?
     • No. Go to Part 7
       C Yes. Go to line    47.


trntp Describe All Property You Own                 or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
   • No
      C Yes. Give specific information

 54.     Add the dollar value of all of your entries from Part?. Write that number here


1F11’.         List the Totals of Each Part of this Form

55.      Part 1: Total real estate, line 2                                                                                              —
                                                                                                                                            —




56.      Part 2: Total vehicles, lineS                                                    $12,500.00
57.      Part 3: Total personal and household items, line 15                               55,500.00
58.      Part4: Total financial assets, line 36                                           $30,170.50
59.      PartS: Total business-related property, line 45                                         $000
60.      Part 6: Total farm- and fishing-related property, line 52                               50.00
61.      Part 7: Total other property not listed! line 54                         +              $0.00
62. Total personal property. Add lines 56 through 61...                                   543,170.50     Copy personal property total               $48,170.50

63.      Total of all property on Schedule A/B. Add line 55         +   line 62                                                                 $545,170.50




Official Form 106A/B                                                    Schedule NB: Property                                                                page 9
software Copyright (°l 1996-2017 Boat Caso, LLC wiw beslcase corn
                                              -                                                                                                  Boot Case BankrupIcy
         Case 18-23134-GLT                              Doc 23             Filed 08/30/18 Entered 08/30/18 15:54:10                                            Desc Main
                                                                          Document     Page 13 of 58
 Fill In this Information to Identify your case:
 Debtor 1                   James A. Orlando, II
                            First Ne—e                            Mndle Nante                       Last Name
 Debtor 2                   Nicole M. Orlando
 (Spouse if, filing)        First Name                            Middle Name                       Last Name

 United States Bankruptcy Court for the:                   WESTERN DISTRICT OF PENNSYLVANIA

 Case number           16-23134
 (if kncwnl
                                                                                                                                                                 Check if this is an
                       ——        —   —




                                                                                                 —
                                                                                                                                                 -               amended filing

Official Form 1060
Schedule C: The Property You Claim as Exempt                                                                                                                                           4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 1064dB) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2.- Additional Page as necessary. On the top of any additional pages, write your r.ame and
case number (if known).
For each Item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount
 -.              identify the Property You Claim as Exempt                                                        —.   —                        ——                —.




 1, Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      O You are ciaimir.g state and federal nonbankruptcy exemptions. ii U.S.C. § 522(b)(3)
      • You are claiming federal exemptions.                   11 U.S.C. § 522(b)(2)
 2.   For any property you list on Schedule NB that you claim as exempt, fill in the Information below.
      Brief description or the property and line on                  current value of the       Amount of the exemption you claim                    Specific laws that allow exemption
      Schedule A/B that lists this property                          portion you own
                                                                     Copy the value from        Check only one box for each exemption
                                                                     Schedule NV
      310 Windsor Avenue Coraopolis, PA                                                                                                              11 U.S.C.   §   522(d)(1)
                                                                              $201,000.00       S                                  $47,350.00
      15108 Allegheny County                                              -




      Line from Schedule NB: 1.1                                                                         100% of fair market value, up to
                                                                                                         any applicable statutory limit

      2015 Mazda CX5                                                                                                                                 11 U.S.C.
      Line from Schedule NB: 3.1
                                                                               $12,000.00
                                                                                  -
                                                                                                •    -                              $3,775.00                    §   522(d)(2)

                                                                                                C        100% of fair market value, up to
                                                                                                         any applicable statutory limit

      2009 Kawasaki Ninja
      Line from Schedule NB. 3.2
                                                                                 $500.00        •                                    ssoo.oo         11 U.S.C.   §   522(d)(5)
                                                                                            -




                                                                                                         100% of fair market value, up to
                                                                                                         any applicable statutory limit

      Everyday Clothes                                                                                                                               11 U.S.C.
      Line from Schedule NB: 11.1
                                                                                 $500.00        •                      -
                                                                                                                                     $500.00                     §   522(dfl3)

                                                                                                         100% of fair market value, up to
                                                                                                         any applicable statutory hm(t

      Wedding Ring                                                                                                                                   11 U.S.C.   §   522(d)(4)
                                                                                $2,000.00       S                                   $2,000.00
      Line from Schedule A/B: 12.1                                                                                         -   -




                                                                                                C        100% of fair market value, up to
                                                                                                         any app!icabie statutory limit




Official Form 106C                                           Schedule C: The Property You Claim as Exempt                                                                        page 1 of 3
Software copyright (ci 1995.2017 Best cese, LLc   .   WAY beslcase corn                                                                                                   Beat case Bankruptcy
        Case 18-23134-GLT                         Doc 23             Filed 08/30/18 Entered 08/30/18 15:54:10                                                                                            Desc Main
                                                                    Document     Page 14 of 58
  Deb:cr i    James A. Orlando, II
  Deotc 2     Nicole M. Orlando                                 -
                                                                                                         —
                                                                                                                 -
                                                                                                                                              Case rumoer (1 known)                            1823134
      Brief description of the property and line on             Current value of the                         Amount of the exemption you claim
      Schedule A/B that lists this property                                                                                                                                                  Specific laws that allow exempUon
                                                                portIon you own
                                                                Copy the value from                          Checl< only one box for each exemption.
                                                                Schedule NE
       Everyday Jewelry                                                                                                                                                                      11 U.S.C.
                                                                                  $260.00                    •                                                     $250.00                                §   522(d)(4)
      Line from Schedule NB. 12.2                                     -
                                                                                                                                                  —




                                                                                                             C       100% of fair market value, up to
                                                                                                                     any applicable statutory limit

      Pony
                                                                                  $500.00                    •                                                     $500.00                   Ii U.S.C.    §   522(d)(5)
      Line from Schedule NB: 13.1                               —     ---                       -
                                                                                                                         .       —            -—          -   -             -




                                                                                                             C       00% of fair market value, up to
                                                                                                                     any apphcable statutory Lmit

      3 House Cats                                                                                                                                                                           11 U.S.C.
      Line from Schedule NB: 13.2                                                      $0.00
                                                                                                                                                      .             -
                                                                                                                                                                            $0.00                        §    522(dfl5)
                                                                                                             C       100% of fair market value, up to
                                                                                                                     any applicable statutory limit

      Cash                                                                                                                                                                                   11 U.S.C.
      Line from Schedule AIR: 16.1                                                 $50.00                    •                                                      $50.00                               §    522(d)(5)
                                                                                                                                     —            -       —         ‘                    -




                                                                                                             C       100% of fair market value, up to
                                                                                                                     any applicable statutory limit

      Checking: Citizens Bank                                                                                                                                                                ii U.5.C.
      Line from Schedule NB: 17.1
                                                                                  $166.35                                                                          $166.35                               §    522(d)(5)
                                                                          -                --                        —       -       -




                                                                                                             C       100% of fair market value, up to
                                                                                                                     any applicable statutory limit

      401(k): Fidelity                                                    $23,233.15                         j                                                                               11 U.s.C.
      Line from Schedule NB: 21.1                                                                                                                                                                        §    522(d)(12)
                                                                      -            -
                                                                                                                                 ,                            --                     -




                                                                                                             •       100% of fair market value, up to
                                                                                                                     any applicable statutory limit

      401(k): American Funds                                                  ss,ooo.oo                                                                                                      ii U.S.C.
      Linefrcm Schedule A/B: 21.2
                                                                                                             C                                                              ——   -
                                                                                                                                                                                                         §    522(d1112)
                                                                                                             I       100% of fair market value, up to
                                                                                                                     any appi:cabe statutory limit

      401(k): Waddell & Reed                                                      $821.00                                                                                                    11 U.S.C.
      Line from Schedule NB: 21.3
                                                                                                             C                                                                                           §    522(d)(12)
                                                                                   —
                                                                                                                             .--—         -
                                                                                                                                     -
                                                                                                                                                               -            -    —




                                                                                                             •       100% of fair market value, up to
                                                                                                                     any applicable statutory limit

      Household Goods & Furnishings                                                                                                                                                          11 U.S.C.        522(d)(3)
      Line from Schedule NB:                                    -     —
                                                                              $153000
                                                                                   -       —
                                                                                                             I
                                                                                                                 -———
                                                                                                                                                              $1,530.00                                  §
                                                                                                                                         -——--




                                                                                                             C       100% of fair market value, up to
                                                                                                                     any applicable statutory limit

      Electronics                                                                                                                                                                            11 U.S.C.
      Line from Schedule NB:                                                  -
                                                                                  $57000
                                                                                           ,        --
                                                                                                             I                                                     $570.00                               §    522(d)(3)
                                                                                                                 -—-                     .-   —   —                         —




                                                                                                             C       100% of fair market value, up to
                                                                                                                     any aoplicabie statutory limit

     Equipment for sports and Hobbies                                                                                                                                                        ii u.s.c.        522(d)(3)
     Line from Schedule NB:                                 -       —--
                                                                                  $150.00
                                                                                       -       —.
                                                                                                             I
                                                                                                                 —
                                                                                                                                                                   $150.00                               §
                                                                                                                             —•--         -—--                          -




                                                                                                             C       100% of fair market value, up to
                                                                                                                     any applicable statutory limit




Official Form 106C                                    schedule C: The Property You Claim as Exempt                                                                                                                         page 2 of 3
Software CoprghI fci 1996-2017 Best Case LLC -‘www besicase corn
                                                                                                                                                                                                                   Best case Bank’tctcy
       Case 18-23134-GLT                          Doc 23         Filed 08/30/18 Entered 08/30/18 15:54:10                       Desc Main
                                                                Document     Page 15 of 58
 Debtor 1    James A. Orlando, II
 Debtor 2    Nicole M. Orlando                                                                 Case nu’rber (if krowr)     18-23134
3.   Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases flied on or after the date of adjustment.)
     • No
     C      Yes. Did you acquire the property covered by the exemption wfthin 1.215 days before you filed this case?
            C      No
            C      Yes




Official Form 1c6C                                     Schedule C: The Property You Claim as Exempt                                         page 3 of 3
Software Copyright (a) 1996-2017 Best Case, LIC w,w bestoase corn
                                              .                                                                                       80sf Case Bankruptcy
        Case 18-23134-GLT                                   Doc 23                Filed 08/30/18 Entered 08/30/18 15:54:10                                         Desc Main
                                                                                 Document     Page 16 of 58
Fill In this Information to Identify your case:
Debtor 1                       James A. Orlando, II
                                   rat Nne                                i,e Nape                          Uest Nate
Debtor 2                       Nicole M. Orlando
lSpose if f;i r.g)             First Name                                M;:co Namo                         LaM Name

United States Bankruptcy Court for the.                           WESTERN DISTRICT OF PENNSYLVANIA

Case number                18-23134
(fkrMwr)
                                                                                                                                                                    Check if this is an
                                               -                                       -    -
                                                                                                      -                                                             amended flling

Official Form W6D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct Information. ii more space
is needed, copy the AdditIonal Page, fill It out, number the entries, and attach It to this form, On the top of any additional pages, write your name and case
number (If known).
1. Do any creditors have claims secured by your property?
     C No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
     N Yes. Fill in all of the information below.
ListAH Secured Claims                                                                                .-          -.—-——-—.—            —        -                            —-       —




2. LIst all secured claims. If a creditor has more than one secured claim, lIst the creditor separately                       Column A               Column B                Column C
for each claim. If more than one creditor has a particular claim, list the ether creditors in Part 2. As                      Amount of claim        Value of collateral     Unsecured
much as possible, list the claims in alphabetical order according to the creditors name                                       Do not deduct the      that supports this      portIon
—
                                                                                                                              value of collateral,   claim                   If any
21      Bank of America                                      Describethepropedythatsecurestheclaim:
                                                                                                                          .
                                                                                                                                                            $60,000.00                    $0.00
        Drez2o’sName
                                                             3112 Ashlyn Street Pittsburgh, PA
                                                             15204 Allegheny County
                                                             As of the date you file, the claim Is: cneck       all nat
       P.O. Box 31785                                        apoly
       Tampa, FL 336313785                                   C Cor.ngent
        Nu’rbor. Street. city State &      Zip code          I     Ur.l quidatea
                                                             C Dtsouted
Who owes the debt? Check cne                                 Nature of lien, check all tI-a: apo.y
 C   Debtor I only                                           I An agreement you made (such as mortgage or secured
 C   Debtor 2 only                                                   car loan)
 • Debtor I and Debtor 2 only                                C Statutory lien (such as tax lien, mechanics lien)
 C At least one of the debtors and another                   C Judgment lien from a lawsuit
 C Check If this claim relates to a                          C Other (including a right to offset)                        —




     communIty debt

Date debt was Incurred                                                  Last 4 dIgIts of account number          8272

22    Bayview                                                Descrtbethe property that secures the dMm:                           $66,808.00                $16,000.00          $50,80&00
        Creditor’s Name                                    p5515 Second Avenue Pittsburgh, PA
                                                            15207 Allegheny County
       4425PonceDeLeon                                                     --      .


                                                             As of the date you tile, the claim Is:
                                                                                       —




                                                                                                          Chet a I “at
       Boulevard
       Coral Gables, FL 33146                                C contngent
        Nu—ser S:’eet       city   State   Z p cooe          I ur.l;quioated
                                                             C     D:sputed
Who owes the debt? check one                                 Nature of lien. Check all that aopty.
 C Deo:o’ 1 cn;y                                             • An agreement you made (such as r.cngage or secured
 C   ‘Deotcr 2 only                                                  car loan)
 • Deoto I anc Debtcr 2 only                                 C Statutc-y len (such as tax I:en.   mechan c’s lien)
 C At least one ci the debtors and anoTher                   C Judgment lien from a lawsuit
 C check if this claim relates to a                          C Other (including a right to offset)                                                      —                             —




      communIty debt

 Date debt was Incurred                                                 Last 4 digits of account number           3770            -




Official Form 106D                                          ScheduleD: Creditors Who Have Claims Secured by Property                                                                page 1 of 4
Software copyrighl   (c)   1996-2017 Oeat case, LLC   .   ‘N,’i   besicase com                                                                                                foal Case Oankruptcy
       Case 18-23134-GLT                                     Doc 23            Filed 08/30/18 Entered 08/30/18 15:54:10                                             Desc Main
                                                                              Document     Page 17 of 58
Debtor 1      James A. Orlando, II                                                                                            Case number (it know)   18-23134
              First Namo                  Middle Name                                  Last Name                                                      ——       ——   —       -   —    -   --




Debtor 2 Nicole M. Orlando
              First Name                  Middle Name                                   Last Name


[i.ä Bridgecrest                                             Describe the property that secures the claim:                                                 $12,000.00                         $579.00
       Credilors Name
                                                             Car in good standing

                                                                    the   date   you rile, the claim Is: Check all that
       P.O. Box 29018
       Phoenix, AZ 85038                                     C Contingent
       Number, Siraat, City. Slate & Zip Code                • Unhquidated
                                                             C    Disputed
Who owes the debt? Check one                                 Nature of lien, Check all that apply
C Debtor 1 only                                                   An agreement you made such as mortgage or secured
C    Debtor 2 only                                                 car loan)
• Debtor I and Debtor 2 only                                 C    5tatutory lien (such as tax lien, mechanics lien)
C At least one of the debtors and another                    C    Judgment lien from a lawsuit
C Check if this claim relates to a                           C Otner (indudng a ngnt to offset)
     community debt

Date debt was incurred                                   —           Last 4 digits or account number


14 BHdgeway Capital                                          Descdbethepropertythatsecurestheciaim:                       -          $47,000.00        $387M00M0                         $47M00.00
       Orecro’sName                                          Windsor, Ashlyn, Eastlawn,
                                                             Sacramento, Second Ave.
       1920 Gulf Tower                                       properties               —    —    —-    ——




                                                             Asof the date you Ale, the claim is: Chec a9 that
       707 Grant Street
       Pittsburgh, PA 15219                                   C Con: ngent
       Number Slroat. City. State & Z p Coos                      Unt.au dated
                                                              C Disputed
Who owes the debt? Check one                                 Nature of lien. Check all that apply
C Debtcr 1 only                                               I An ag’eernent you made (suon as moilgage or secu’ed
C Deb:c’ 2 only                                                    car can)
C Debtor 1 ana Deoto 2 cn’y                                   C Statutory len (such as tax lien. meonanic s lien)
 • At ieast ore of the aebtors and another                    C Judgment lien f’om a awsu
C    Check if this claim relates to a                         C Other (;nciudrg a r:gnt to offset)                              —                     —    —   —        —       —




     community debt

Date debt was incurred                                                Last 4 digIts of account number             8851-I

15      Bridgeway Capital                                     Descdbethepropertythetsecurestheciaim:                      -          $75,000.00           $387,700.00                    $75,000.00
        Crec rs Nra                                           Windsor, Ashlyn, Eastlawn,
                                                              Sacramento, Second Ave.
        1920 Gulf Tower                                      PrP!!tj!                 —    —     --    -   -




                                                                     the date you file, the claim is: Check all that
        707 Grant Street
        Pittsburgh, PA 15219                     -            C Ccntcngent
        Number, Street, City. State & Zip code                • Unliqudated
                                                              C Disputed
Who owes the debt? Check one                                  Nature of lien. Check all that apply
 C   Debtor I only                                            I   An agreement you made (such as mortgage or secured
 C   Debtor 2 only                                                 car loan)
 C   Debtor 1 and Debtor 2 only                               C Statutory lien (such as tax lien! mechanic’s lien)
 I At [east one of the debtors and another                    C Judgment lien from a lawsuit
 C Check if this claim relates to a                           C Other (including a right to offset)                                           —        —_________________________               —




    community debt

 Date debt was incurred                                               Last 4 digits of account number                                     —




Official Form 1OBD                     Additional Page of Schedule D: Creditors Who have Claims Secured by Property                                                                           page 2 ot’4

Sohwara Copyrighi Ic) I 996-2017 Best Case! LLC www testcase oem
                                                     .                                                                                                                              Besi Case Oankrupicy
       Case 18-23134-GLT                                           Doc 23               Filed 08/30/18 Entered 08/30/18 15:54:10                                      Desc Main
                                                                                       Document     Page 18 of 58
Debtor 1 James A. Orlando, II                                                                                                 Case number   (if know)   18-23134
               First Name                    Middle Name                                   Last Name                                                    ——       ——   —




Debtor 2 Nicole M. Orlando
               First Name                    Middle Name                                   Last Name


Eze    Citirnortgage
       Creditors Name
                                                                   DescrIbe the property that secures the aIrn:                    $61,291.00            $110,000.00                       $0.00
                                                                   1319 Barr Avenue Pittsburgh, PA
                                                                   15205 Allegheny County
           “                                                   1A oTiii d1I ydu life, 1h0 claIm Tsick alt that
           B ox 24
       Sioux Falls, SD                   7                         C Contingent
       Number, Street! City! Stale   & Zip Code                    • Uniiquidated
                                                                   C Disputed
Who owes the debt? Check one,                                      Nature of lien. Check all that apply
C Debtor 1 only                                                       An agreement you made (such as mortgage or secured
C Debtor 2 only                                                        car loan)
• Debtor 1 and Debtor 2 only                                       C Statutory lien (such as tax lien, mechanic’s lien)
C At least one of the debtors and another                          C Judgment lien from a lawsuit
C check If this claim relates to a                                 C Other (including a right to offset)                                                     —




      community debt

Date debt was incurred                         -   -       —                  Last 4 digits of account number       8207


[t 9Ir%qpper
    Creditors Name
                                                                   Describe the property thatsecures the claim:                   $179J25M0              $2Ot000MO                          $OMO
                                                                   310 Windsor Avenue Coraopolis, PA’
                                                                   15108 Allegheny County
       P.O. Box 60516                                                            --       —   —    --   -



                                                                   As of the date you file, the claim is:   Check eli that
       City of Industry, CA                                        apply
       91716                                                       C Contingent
       Number, Street.   City, State & Zip Code                    • Unliquidated
                                                                   C Disputed
Who owes the debt? Check one,                                      Nature of lien. Check all that apply
 C Debtor I only                                                   • An agreement you made (such as mortgage or secured
 C Debtor 2 only                                                           car loan)
 • Debtor 1 and Debtor 2 only                                      C Statutory lien (such as tax lien, mechanic’s lien)
 C At least one of the debtors and another                         C Judgment lien from a lawsuit
 C Check if this claim relates to a                                C Other (including a right to offset)
      community debt

 Date debt was incurred         -                      —       —              Last 4 digIts of account number


[iijseterus Inc.                                                   Doscribethepropertythatsecuresthoclairn:                         $49724.00                $60,000.00                     $0.00
       Creditors Name                                              2719 Sacramento Avenue
                                                                   Pittsburgh, PA 15204 Allegheny
       145235W Millikan Way,                                       County,
                                                                   As of the date you file, the claim Is: check    eli that
       Suite 200                                                   apply
       Beaverton, OR 97005                                         C Contingent
       Number, Street! City! State & Zip Code                      • Unhquidated
                                                                   C Disputed
 Who owes the debt? Check one                                      Nature of lien. Check all that apply
 C Debtor 1 only                                                       An agreement you made (such as mortgage or secured
 C Debtor 2 only                                                        car loan)
 • Debtor 1 and Debtor 2 only                                      C   Statutory lien (such as tax lien! mechanics lien)
 C At ieast one of the debtors and another                         C Judgment lien from a lawsuit
 C Check if this claim relates to a                                C Other (including a right to offset)             !                                                    —   —   —




      community debt

 Date debt was incurred                                                       Last 4 digits of account number


{i ] ShellPoint                                                    Describe the property thatsecures the claim:                     $59,136.36               $50,000.00               $9136.36

Offtoial   Form 1O6D                     Additional Page                     of ScheduleD: Creditors Who Have Claims Secured by Property                                                page 3 oF 4
Sottware Copy’ight cl 1996.2017 Beat Case! LLC             -   www   beatcase corn                                                                                                Best Case Bankruptcy
        Case 18-23134-GLT                                  Doc 23         Filed 08/30/18 Entered 08/30/18 15:54:10                                        Desc Main
                                                                         Document     Page 19 of 58
Debtor 1 James A. Orlando, II                                                                                       Case number   (know)           18-23134
              First Name                   Middle Name                            Last Name
Debtor 2 Nicole M. Orlando
              First Name                   Middle Name                            Last Name


       Credcrs Name                        -              r45
                             -

                                                                Eastlawn Parkway Erie, PA
                                                           16510 Erie County
       55 Beattie Place, Suite                                        —         —    —              -




                                                           As of the date you rile, thu claim is:   Crecx ai hat
       600
       Greenville, SC 29601                                D   Con,: ngen:
       N—ber, Street. City. State &   Z p Coos                 tin qudated
                                                              Disn:eo
Who owes the debt? Check one                               Nature of lien. Check ai that apoty
    Debtor 1 only                                              An agreement you made (such as mortgage or secured
    Deots’ 2 only                                               Car bar)
 • Debtor 1 ard Debta’ 2 any                               D   StatLtory Len (such as tax ten   rn echan   s ten)
 O At east one of tne oebtors and another                  0   Juagment I en from a awsu;t
 0 Check if this claim relates to a                        0   Other (irciud ng a right to orset)                    —




     community debt

Date debt was lncuned         -                                    Last 4 digits of account number          7615


  Add the dollar value of your entries In Column A on this page. Write that number here:                                      $596,039.94
  If thIs Is the last page of your form, add the dollar value totals from all pages,
  Write that number here:                                                                                                     ‘P           0   .




                Others to Be Notified         a      Tha You Already Listed                                              --




Use this page only if you have others to be notIfied about your bankruptcy for a debt that you already listed In Part I. For example, If a collection agency Is
trying to collect from you for a debt you owe to someone else, list the credItor In Part I, and then list the collection agency here. Similarly, If you have more
than one creditor forany of the debts that you listed In Part 1, lIst the addItIonal creditors here. If you do not have additional persons to be notified for any
debts In Part l,do not fill out or submit this page.




Official Form 1060                      Additional Page of ScheduleD: Creditors Who Have Claims Secured by Property                                                   page 4 oN

Soitware Copyright it) 1996.2017 Best Case,    LLC   .   www besicase corn                                                                                     Best Case Bankruptcy
                 Case 18-23134-GLT                            Doc 23             Filed 08/30/18 Entered 08/30/18 15:54:10                                        Desc Main
                                                                                Document     Page 20 of 58
    Fill in this Information to Identify your case:
    Debtor 1                         James A. Orlando, II
                                     F ral Name                        M doe kane                           Last Name
    Debtor 2                         Nicole M. Orlando
        Spouse ‘I, tiling)           FirM Name                          Middle Name                         Lest Name

    United States Bankruptcy Court for the:                      WESTERN DISTRICT OF PENNSYLVANIA

    Case number                 18-23134
    (it known)
                                                                                                                                                             C Check if this is an
                                -—
                                            —




                                                  -




-                                                                                                                -
                                                                                                                                                               amended filing

Official Form 106E/F
Schedule ElF: Creditors Who Have Unsecured Claims                                                                                                                               12115
Be as complete and accurate as possible. use Part ¶ for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result In a claim. Also list executory contracts on Schedule NB: Property (Official Form IO6NB) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 1060). Do not Include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property, If more space is needed, copy the Part you need, fill it out, number the entries In the boxes on the
left. Attach the Continuation Page to this page, if you have no information to report In apart, do not file that Part, On the top of any additional pages, write your
name and case number (if known).
List All of Your PRIORITY Unsecured Claims                                               -             —-   --   —                -              -   —-          -   -   -—




    1.       Do any creditors have priority unsecured claims against you?
             • No Goto Par12.

    C Yes.
IFflW      List All of Your NONPRIORITY Unsecured Claims
    3.       Do any creditars have nonpriority unsecured claims against you?

             C   No You have nothing ID report in this part. Submit this form to the court with your other schedules

             • Yes.

    4.       List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. if a creditor has more than one nonpriority
             unsecured claim, list the credlior separateiy for each claIm For each ciaim listed, identify what type of claim it Is. Do not hst claims already inciuded in Part 1 if more
             than one creditor holds a particular claim, list the other creditors in Part 3 if you have more than three nonpriority unsecured claims fill out the Contnuation Page of
             Pan 2.
                                                                                                                                                                         Total claim
    4    1   i    American Express                                                Last 4 digIts of account number                                                                 $21,951.00
-                  Nonprio’:iy Creo;iors Nan’e
                   P.O. Box 981537                                               When was the debt incurred?                --




                   El Paso, TX 79998
                   Number Street City State ZIP Code                             As of the date you file, the claim Is: Check all that apply
                  Who Incurred the debt? Check one,
                   C   Debtor 1 oniy                                              C Contingent
                   C   Debtor 2 only                                              • uniquiated
                   C   Debtor I and Debtor 2 only                                C Disputed
                   • At least one cf the debto’s and anotner                     Type of NONPR1ORI1’Y unsecured claim:

                  C Check if this claim Is for a community                        C Student loans
                  debt                                                            C Ob igalior.s arising  out o’ a seoarator agreement a’ divorce that you d d rot
                  Is the claim subject to offset?                                report as c’iori:y cia ms
                   • No                                                           C   Debts ID pension or profit-sharing plans, and other similar debts

                   C   Yes                                                        •   Other. Specify   Business Debt




Official Form 106 ElF                                              Schedule ElF: Creditors Who Have Unsecured Claims                                                                   Page I of 6
Software Copynghl            (ci 1996.2017 Seal case, LLc -vnvw beslcase corn                                             20346                                                Oeal Case Bankruplcy
       Case 18-23134-GLT                            Doc 23        Filed 08/30/18 Entered 08/30/18 15:54:10                                          Desc Main
                                                                 Document     Page 21 of 58
Debtor 1 James A. Orlando, II
Debtor 2 Nicole M. Orlando                                                                                Case number      (if know)      1823134

          American Express                    -
                                                  —______            Last 4 digIts of account number                                                       $50000.00
          Nonpriority Creditor’s Name                                                                                                                                    —




          P.O. Box 981 537                                           When Was the debt incurred?
          El Paso, TX 7998
          Nmber Street Cty Sate ZIP Ccce                             As of the date you rite, the claim Is: Cneck a that appy
          Who Incurred the debt? ChecK one
          C   Deotor 1 cn’y                                          C   Conngent
          • Debtor 2 only                                                Unt qu dated
          C   Debtor 1 and Debto’ 2 only                             C Disputed
          C At least one of the debtors ana anotner                  Type of NONPRIORITY unsecured claim:

          C Check If this claim is fora community                    C   Student toans
          debt                                                       C  Obt gations aris ng cut of a sepa’ation agreement or d worce that you diG not
          is the claim subject to offset?                            repot as pior ty claims
          • No                                                       C   Debts to pens.c9 Cr ocfit-shar;ng pans, ana otner s:mtar oebts

          C   Yes                                                        otrer Spec:fy    Business Debt


[43       Chase Card                                                 Last 4 dIgits of account number                                                       $14,713.00
          Nonpriority Creditors Name
          P.O. Box 15298                                             When was the debt Incurred?
          Wilmington, DE 19850                              —




          Number Street City State Zip Code                          As of the date you tile, the claim is: Check all that apply
          Who incurred the debt? Check one.
          I   Debtor 1 only                                          C   contingent

          C   Debtor 2 only                                          I   Unliquidated
          C   Debtor 1 and Debtor 2 only                             C  Disputed
          C   At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

          C   Check If this claim Is for a community                 C   Student loans
          debt                                                       C  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims
          • No                                                       C   Debts to pension or profit.sbaring plans, and other similar debts

          C Yes                                                      • Other. Specify     Business Debt


          Fifth Third Bank                                           Last 4 digIts of account number                                                         $5,088.00
          Nonpriority Creditors Name
          5050 Kingsley Drive, MD I MOOCOP                           When was the debt Incurred?
          Cincinnati, OH 45263
          Number Street Ciy Sta:e Zip Code                           As of the date you tile, the claim is: Cneck al that app
          Who tncurred the debt? Creok one
          C   Debtor 1 on.y                                          C   Contngent
          C   Debtor 2 only                                          I   Unt qu dated
           • Debtor 1 aro Debtor 2 only                              C  Disputed
          C   At least ore & the debtors and arother                 Type of NONPRIORITY unsecured claim:

          C   check ir this claim is for a community                 C Student loans
          debt                                                       C  Obigations arisirg out of a separation agreement o’ divorce that you d d rot
          Is the claim subject to offset?                            report as prioly claims
          • Nc                                                       C   Deots to pension or prot:t.shalrg plans, arc other simi r debts

          C   Yes                                                    • Otner. Speci!y




Official Form 106 E/F                                   Schedule ElF: Creditors Who Have Unsecured Claims                                                       Page 2 of 6
Software Copyright Ic) 1996.2017 Best Case, LLC w,vw bealcase corn                                                                                       Best Case Bankruptcy
          Case 18-23134-GLT                            Doc 23               Filed 08/30/18 Entered 08/30/18 15:54:10                                          Desc Main
                                                                           Document     Page 22 of 58
 Debtor I James A. Orlando, II
 Debtor 2 Nicole M. Orlando                  -       -—                -                                            Case number (fknow)              18-23134

  5]       Fifth Third Bank                                                 Last 4 digIts or account number          2807                                            $3691 2.78
           Nonpriority Creditors Name
           P0 Box 740778                                                    When was the debt incurred?
           Cincinnati, OH 45274-0778
           Number Street City State Zip Code                                As of the date you file, the claIm Is: Check all that apply
           Who incurred the debt? Check one.
           C   Debtor 1 only                                                 C   Contingent
           C   Debtor 2 only                                                 • Unliquidated
           • Debtor 1 and Debtor 2 only                                      C Disputed
           C At least one of the debtors and another                        Type of NONPRIORITY unsecured claim:

           C Check ii this claim is for a community                          C Student loans
           debt                                                              C Obligations arising out of a separation agreement Cr divorce that you did net
           Is the claim subject to offset?                                  report as priority claims
           • No                                                              C   Debts to pension or prcfit.sharing plans, and other similar debts

           C Yes                                                             • Other Speci’y


4 6        jBadh and Ki,iig                                                  Last 4 digits of account number
                                        -

                                                                                                                                                                       $7,000.00
           Nonoronty Cred:tors Name
           400 Broad Street, #1006                                          When was the debt incurred?                -




           Sewickley, PA 15143
           Nuber Street Cny State Zip Cooe                                  As of the date you rile, the claim Is: Cheec all that   apply
           Who incurred the debt? Check one.
           C Deotor 1 or.iy                                                  C Contir.gent
           C Debtor 2 only                                                   • Un iouidated
           I Deotw 1 and Debtor 2 only                                       C  Disputed
           C   At least one of the debtors and another                       Type of NDNPRIORITY unsecured claim:

           C   Check if this claim is for a community                        C   Student loans
           debt                                                              C  ob:igat:ons arising out   o’ a sepa’ation agreement or divorce tnat you oio lot
           is the claim subject to offset?                                   report as pr:ority cia ms
           • No                                                              C   Debts to pens on or prot-shar ng plans, ale other s:mi a’ debts

           C   Yes                                                           • Other. Scecfy Business Debt


           Nationwide Credit (Chase Bank
47    -    (J5flJ       —   —                            -   —-
                                                                  ——        Last 4 dIgits of account number          2041                                            $11,981.54
           Noncrio’ity Cred;lor’s Name
           P.O. Box 14581                                                   When was the debt incurred?
           Des Moines, IA 50306-3581                              -   -,




           Numbe’ St’eet Civ State Zip Code                                 As of the   date you file, the claim Is: Check all that aopiy
           Who Incurred the debt? Creek cne
           C   Debtor I only                                                 C   Contingent
           • Debtor 2 only                                                   I Unliquidated
           C   Debtor I and Debtor 2 only                                    C   Disputed
           C   At least one of the debtors and another                       Type of NONPRIORITY unsecured claim:

           C Check ii this claim is for a community                          C   Student loans
           debt                                                              C Obligations arising out or a separation agreement or divorce that you did not
           Is the claim subject to offset?                                   report as priority claims
           • No                                                              C   Debts to pension or profit-sharing plans, and other similar debts

           o Yes                                                             I   Other. Specify    Business Debt




Dfficiai Form 106 ElF                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 3 of 6
Software Copyright Id 1996.2017 Best Caee, LLC   -   Mwi.bestcasa corn                                                                                             Seal Case Bankruptcy
          Case 18-23134-GLT                        Doc 23          Filed 08/30/18 Entered 08/30/18 15:54:10                                         Desc Main
                                                                  Document     Page 23 of 58
Debtor I James A. Orlando, II
Debtor 2 Nicole M. Orlando                                                                                 Case number     (know)       18-23134

4.8   ]    Painting WithAT[LLC
           Nonpriority Creditor’s Name
                                                                      Last 4 digits of account number                       -
                                                                                                                                                             Unknown
           820 LaFitte Street, Suite 104                              When was the debt Incurred?
           Mandeville, LA 70448
           Number Street City State Ztp Code                          As of the date you file, the claim Is: Check all that apply
           Who incurred the debt? Check one.
           C Debtor 1 only                                            C Contingent
           C   Debtor 2 onLy                                          • Unliquidated

           • Debtor 1 and Debtor 2 only                               • Disputed
           C At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           C Check if this claim is for a community                   C Student loans
           debt                                                       C Obligations arising out of a separation agreement or divorce that you did not
           is the claim subject to offset?                            report as priority claims
           • No                                                       C Debts to pension or profit-sharing plans, and other similar debts
           C Yes                                                      • Other. Specify      Business Debt

4.9
      ]    PNC Bank
           Nonpriority Creditors Name
                                                                      Last 4 digits of account number       1719            —
                                                                                                                                                              $1 801.19

           P.O. Box 3429                                              When was the debt incurred?
           Pittsburgh, PA 15230-3429                        —



           Number Street City State Zip Code                          As of the date you tHe, the claim is: Check all that apply
           Who incurred the debt? Check one,
           C Debtor 1 only                                            C Contingent
           C Debtor 2 only                                            • Unhquidated
           • Debtor 1 and Debtor 2 only                               C Disputed
           C At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           C Check if this claim is for a community                   C Student loans
           debt                                                       O Obligations arising out of a separation agreement or divorce that you did not
           is the claim subject to offset?                            report as priority claims
           • No                                                       C Debts to pension or profit-sharing plans, and other similar debts
           C Yes                                                      • Other. Specify      Business Debt


4,1
           PNC Bank                                                   Last 4 digits of account number       9051                                            $49,183.75
           Nonpriority Creditor’s Name
           P.O. Box 747066                                            When was the debt incurred?
           ?1!burh,PA15274-7066
           Number Street City State ZIP Code                          As of the date you file, the claim is: Check au that apply
           Who incurred the debt? Check one.
           C Debtor 1 only                                            C Contingent
           C Debtor 2 only                                            • Unhquidated
           I Debtor I and Debtor 2 only                               C Disputed
           C At least one of the debtors and     another              Type of NONPRIORITY unsecured claim:

           C Check if this ciaim is for a community                   C Student loans
           debt                                                       C Obligations arising out of a separation agreement or divorce that you did not
           is the claim subject to offset?                            report as priority claims
           I No                                                       C Debts to pension or profit-sharing plans, and other similar debts
           C Yes                                                      • Other Specify       Business Debt




Official Form 108 E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 4 of 6
Software Copyright (c) 1996-2017 Best Case, LLC -w.wi beatcase corn                                                                                       Best Case Bankruptcy
        Case 18-23134-GLT                               Doc 23                   Filed 08/30/18 Entered 08/30/18 15:54:10                                      Desc Main
                                                                                Document     Page 24 of 58
Debtor 1 James A. Orlando, II
Debtor 2 Nicole M. Orlando                                                                               -             Case number      (,rknow)       1843134

   1
           PNC Bank                                                              Last 4 digits of account     number                                                  $50,000.00
           Nonpriority Creditors Name
           P.O. Box 5570                                                         When Was the debt incurred?
           Cleveland, OH 44101
          Number Street City State Zip Code                                      As of the date you file, the claim is; Check au that appiy
          Who incurred the debt? Check one
           C Debtor I only                                                       C Contingent
           C Debtor 2 onty                                                            unriquidated
           • Debtor I and Debtor 2 only                                          C Disputed
           C At least one of the debtors and another                             Type of NONPRIORITY unsecured claim;

           o   Check if this claim Is for a community                            C Student loans
           debt                                                                  C Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                                       report as priority claims
           • No                                                                  C Debts to pension or orofit-sharing plans, and other similar debts
           C   Yes                                                                • Other    Spec;fy    Business Debt


           Portfolio Recovery (Capital One)                                      Last 4 digits of account number         0777                                         $24,587.00
           Nonorionty Creoitor s Name                             —   —-




           120 Corporate Boulevard, Suite 100                                    When wa5 the debt incurred?
           Norfolk, VA 23502              —               —




           Number Street Cty State Zip Code                   —   —-       -—    As of the date you file, the claim is; Cbeo a! that aap!y
           Who Incurred the debt? Check one.
           • Debtor I only                                                        C   cont ngert

           C Debtor 2 only                                                        • uniqudated
           C Deotor 1 and Debtor 2 only                                          C Disputeo
           C At least one of the debtors and another                             Type of NONPRIORITY unsecured claim;

           C Check if this claim is for a community                               C Student loans
           debt                                                                   C Ob gatior.s alsing out of a separation agreement cr d vorce that you did not
           is the claim subject to offset?                                        report as priority cairns
           • No                                                                   C   Deats to oension Dr pcfit-snaring stans ar.c ct’.e sir’;!ar debts

           C Yes                                                                  • O:ner    Speci’y    Business Oobt


           PWSA                                                                  Last 4 digIts of account number         6864                                              $1,079.94
           Nonprio’ity Cred;tors Name
           P.O. Box 747055                                                       When was the debt incurred?
           Pisburgji5274-7055
           Number Steet Cy State Zip Code                                        As of the date you File, the claim is: Chez all that aopiy
           Who Incurred the debt? Check one
           C Debtor I only                                                        C Contingent
           • Debtor 2 only                                                        • Untiquidated
           C   Debtor I and Debtor 2 only                                         C Disputed
           C At least one of the debtors and another                              Type of NONPRIORITY unsecured claim:

           C check ii this claim is for a community                               C Student loans
           debt                                                                   C Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                                        report as priority claims
           • No                                                                   C   Debts to pension or profit.sharing plans, and other similar debts

           C Yes                                                                  • other, Speciry      3112 Ashlyn

List Others toBe Notified About a Debt That You Alrea4y Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already ilsted in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2. then list the collection agency here. Similarly, If you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the addltionai creditors here. If you do not have additional persons to be
   notified for any debts In Parts 1 or 2, do not fill out or submit this page.


Official Form 106 ElF                                             Schedule ElF: Creditors Who Have Unsecured Claims                                                          PageS of 6
Souiwera Copyright   Id   1996.2017 Beat Case,   LLC vnw besicase corn
                                                    -                                                                                                               Oest   Case Bankruptcy
       Case 18-23134-GLT                          Doc 23         Filed 08/30/18 Entered 08/30/18 15:54:10                                        Desc Main
                                                                Document     Page 25 of 58
Debtor 1     James A. Orlando, II
Debtor 2     Nicole M. Orlando                                                                         Case number (rknow)          1823134               -    -




 .‘          Add the Amounts              Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This          information is for statistical reportIng purposes only. 28 U.S.C. §159. Add the amounts for each
  type of unsecured claim.

                                                                                                                           Total Claim
                        Ba.   Domestic support obligations                                               6a.      $                            0.00
       Total
     claIms
 from Pan I             5b    Taxes and certain other debts you owe the government                       Sb       $                            0.00
                        Sc.   Claims for death or personal injury white you were intoxicated             6:.      $                            000
                        6c    Other. Ada ar oter pñor ty unsecured claims Write that amount flare.       6d       $         -                  0.00

                        Be.   Total Priority. Add lines Ba through 6d,                                   Be,      $                            0.00

                                                                                                                           Total Claim
                        6f.   student loans                                                              Bf.      $                            0.00
       Total
     claims
 from Pan 2             6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                      6g.      $
                        6h.   Debts to pension or proflt.sharing plans, and other similar debts          6h.      $                            0.00
                        6i.   Other. Add all other nonpriority unsecured claims Write that amount        61
                                                                                                                  $                 274,298.20
                                                                                                                                           —          9

                        6j.   Total Nonpriority. Add lines 6f through 6t                                 6j,      $                 274,298.20
                                                                                                                                                      J




Official Form 106 ElF                                  Schedute ElF: Creditors Who Have Unsecured Claims                                                             Page 6 of 6
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                                              -                                                                                                               Best Case Bankruptcy
              Case 18-23134-GLT                             Doc 23        Filed 08/30/18 Entered 08/30/18 15:54:10                          Desc Main
                                                                         Document     Page 26 of 58
 Fill In this Information to Identify your case:
 Debtor 1                           James A. Orlando, II
                                    First Name                      Middle Name              Last Name
 Debtor 2                           Nicole NI. Orlando
 lSpouae if, tiIinl                 First Name                      Middle Name              Lest Name

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF PENNSYLVANIA

 Case number              18-23134
 lifknown)
                                                                                                                                          C Check if this is an
                                                                                                              -                               amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space Is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.           Do you have any executory contracts or unexpired leases?
             • No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
             C Yes. Fill in all of the information below even if the contacts of eases are listed on Schedule N8.Propefly (Offióal Form 105 NB).

2.           List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
             example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
             and unexpired leases.


              Person or company with whom you have the contractor lease                         State what the contract or lease is for
                           Nate, N.rse Street. city State and ZIP code
     2.1
               N a me



               Numcer          Street

     —
         —                                                  State                 ZIP code
     2.2
               Name


               Number          Street

               C;ty                                         State                 ZIP Code
     2.3
               Name


               Number          Street

         -                 .    .
                                     .—                     State                 ZIP Code
     2.4
               Name


               Number          Street

         —     Ctty_    _,
                                                            State                 ZIP Code
     2.5
               Name


               Number          Street

                                                            State                 ZlPCode




Official Form 106G                                         Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1
Software copyright      Id 1996-2017 Beat case, LLC   -   www bestrase cam                                                                             Best case Bankruptcy
          Case 18-23134-GLT                                   Doc 23            Filed 08/30/18 Entered 08/30/18 15:54:10                  Desc Main
                                                                               Document     Page 27 of 58
 Fill in this Information to identify your case:
 Debtor 1                            James A. Orlando, II
                                      .rst Name                        Made Name             Last Name
 Debtor 2                            Nicole M. Orlando
 (Scoase       ‘.   flng)            east Name                   —     M ad a Name           Last Name

 United States Bankruptcy Court for the:                        WESTERN DISTRICT OF PENNSYLVANIA

 Case number                     18-23134
 Of known)
                                                                                                                                    c     Check if this is an
  -—       -




                                                                                                  -
                                                                                                                                          amendedfihing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                   12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct Information. It more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, wrIte
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

      CNo
      I Yes

       2. Within the lastS years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin)

      • No. Go :o line 3.
      C Yes. Die your spouse, farmer soouse. or legal equivalent iive with you at tne time?


   3. In Column 1, lIst all of your codebtors. Do not include your spouse as a codebtor if your spouse Is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 1060), Schedule ElF (Qificlal Form 1D6EIF), or Schedule G (Official Form 1OBG). Use ScheduleD, Schedule ElF, or Schedule G to fill
      out Column 2.

                      Column 1: Your codebtor                                                                Column 2 The creditor to whom you owe the debt
                                      city, State and ZIP
                      Name, Number. Street,                     code                                         Check all schedules that apply:


    3.1              Aftevino, LLC                                                                           C ScheduleD, line
                     2512 Hawthorne Drive                                                                    • Schedule b/F, line    4.1
                     Oakdale, PA 15071
                                                                                                             C Schedule C
                                                                                                             American Express



    3.2              Artevino, LLC                                                                           I Schedule D, line     2.5
                     2512 Hawthorne Drive
                                                                                                             C Schedule ElF, line
                     Oakdale, PA 15071
                                                                                                             C Schedule G
                                                                                                             Bridgeway Capital



    3.3               Pamela Schaffner                                                                       C Schedule D, line
                      2512 Hawthorne Drive                                                                   I Schedule ElF, line    4.1
                      Oakdale, PA 15071
                                                                                                             C Schedule C
                                                                                                             American Express




Official Form 106H                                                                       Schedule H: Your Codebtors                                       Page 1 of 2
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            James A. Orlando, II
Debtor 1    Nicole M Qiando                                                                    Case number (if/mown)   l823134


           Additional Page to List More Codebtors
            Column i:ouFcoã’e’btor                                                     -
                                                                                           -        6olumn :The creditor to whom you owe ihe Jehi
                                                                                                    Check all schedules that apply:
   3.4      Pamela Schaffner                                                                        • Schedule D, line   2.5
            2512 Hawthorne Drive                                                                    C Schedule ElF, line
            Oakdale, PA 15071
                                                                                                    C Schedule G
                                                                                                    Bridgeway Capital



   3.5      Sinfully Artistic, LLC                                                                  C Schedule D, line
            310 Windsor Drive                                                                       • Schedule E/F, line     4.1
            Coraopolis, PA 15108
                                                                                                    C Schedule G
                                                                                                    American Express



   3.6      Sinfully Artistic, LLC                                                                  • ScheduleD, line      2.4
            310 Windsor Drive                                                                       C Schedule ElF, line
            Coraopolis, PA 15108
                                                                                                    C Schedule C
                                                                                                    Bridgeway Capital




Official Form 1 06H                                                        Schedule H: Your Codebtors                                      Page 2 of 2
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  Fill in this information to identify your case:

  Debtor 1                            James A. Orlando, II

  Debtor 2                            Nicole M. Orlando
  (Spouse, ii filing)

  United States Bankruptcy Court for the:           WESTERN DISTRICT OF PENNSYLVANIA

  Case number                18-23134                                                                             Check if this is:
  If knowni                   —




                                                                                                                  C An amended fling
            —                     -




                                                                                             -                    C A supplement showing postpetition chapter
                                                                                                                     13 income as of the following date:
  Official Form 1061
                                                                                                                     MM/DD/YYYY
  Schedule I: Your Income                                                     -                  —
                                                                                                                                             12115
 Be as complete and accurate as possible. If two married people are filing together (Debtor
                                                                                               I and Debtor 2), both are equally responsible for
 supplying correct Information. If you are married and not filing jointly, and your spouse is livIng
                                                                                                     with you, Include information about your
 spouse. If you are separated and your spouse Is not filing with you, do not include Information about
                                                                                                          your spouse. If more space is needed,
 attach a separate sheet to this form. On the top of any additional pages, write your name and case
                                                                                                        number (if known). Answer every question.
  Part 1:      Describe Employment                   —




         Fill In your employment
         information.                                                     Debtor 1                                     Debtor 2 or non-filing spouse
         If you have more than one job.                                   S Employed                                   S Employed
         attach a separate page with               Employment status
         information about additional                                     C Not employed                               C Not employed
         employers.
                                                   Occupation                                                          Administrative Assistant
        Include part-time, seasonal, or
        self-employed work.                        Employer’s name       Butler çjqgjes                                National   AYI!ne
        Occupation may include student             Employers address
        or homemaker, if ft apphes.


                                                   How long employed there?

 Pan 2:                 Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write
                                                                                                             50 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person
                                                                                                                        on the lines below, If you need
more space. attach a separate sheet to this form.

                                                                                                               For Debtor I       For Debtor 2 or
                                                                                                                                  non-filing spouse
        List monthly gross wages, salary, and commissions (before all payroll
 2.     deductions). If not paid monthly, calculate what the monthly wage would be.               2.       $        6,833.00                 3089.48
                                                                                                                                  $
 3.     Estimate and list monthly overtime pay.                                                      3.   .5             0.00     +5             0.00
 4.     Calculate gross Income. Add line 2          +   line 3.                                  4.               !±-PP                $   3,089.48




Official Form 1061                                                            Schedule I: Your Income                                                   page I
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 Debtor 1   James A. Orlando, II
 Debtor 2   Nicole NI. Orlando                                                                         Case number     (i/known)   18-23134


                                                                                                           For Debtor 1                For Debtor 2 or
                                                                                                                                       non-filing spouse
       Copy line 4 here                                                                       4.           S       6,833.00            $         3,089.46
 5.    List all payroll deductions:
       Sa. Tax, Medicare, and Social Security deductions                                      5a.  S               1400.00          $                591.66
       Sb. Mandatory contributions for retirement plans                                       Sb. $                —  0.00          $                  0.00
       5c.    Voluntary contributions for retirement plans                                    Sc.  S                ãso.oo          S                  0.00
       Sd.     Required repayments of retirement fund loans                                   5d.  S                                $                  0.00
       5e.     Insurance                                                                      5e.  S                                $                  0.00
       51.     Domestic support obligations                                                   Sf.  $                                $                  0.00
       5g.     Union duos                                                                     5g.$                                  $                  0.00
       Sh. Other deductions. Specify                                                    —     5h.+ $                               +5                  0.00
 6     Add the payroll deductions. Add lines Sa+5b+5c+5d+5e+5f+5g+Sh.                         6.       $                               $             591.88
 7,    Calculate total monthly take-home pay. Subtract line 6 from line 4.                    7.       $           4,623.00            $
 8.    List all other income regularly received:
       8a.    Net income from rental property and from operating a business,
              profession, or farm
              Attach a statement for each property and business showing gross
              receipts, ordinary and necessary business expenses, and the total
              monthly net income.                                                             Sa,          S   -         0.00          S
       Sb.     Interest and dividends                                                         Sb.          $           739.00          $                  0.00
       Sc.     Family support payments that you, a non-filing spouse, or a dependent
               regularly receive
               Include alimony. spousal support, cnild support, mainter.ance, divorce
              settlement, and property settement.                                             8c.          $                           $
       8d.    Unemployment compensation                                                       8d.          S              0.00         $                  0.00
       8e.    Social Security                                                                 8e.          $                           $                     a
       St     Other government assistance that you regularly receive
              Include cash assistance and the value (if known) of any non-cash assistance
              that you receive, sucn as food stamps (benefits under the Supplemental
              Nutrition Assistance Program) or housing subsidies.
              Specify:                                                                        Sf.  $                                   S
       8g.    PensIon or retirement income                                                    8g. $                                                          o
                                                                                                                          ptQpS
       8h,    Other monthly income. Specify:                                                  8h.+ $                      000 + S

 9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+Sg+Sh.                               9.      [s
                                                                                                                                   L


 10. Calculate monthly income. Add line 7 + line 9.                                         10. [s
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
                                                                                                               PccP] +[s                   2A97.Go               7,859.60

 11. State all other regular contributions to the expenses that you list In Schedule J.
     Include contributions from an unmarried partner, members of your household, your dependents. your roommates, and
     other friends or relatives.
     Do not include any amounts already included in hnes 2-10 or amounts that are not available to pay expenses listed in Schedule J.
     Specify:                                                                                                                 11. +5                                 0.00

 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
     Write tnat amount on the Summa,y of Schedules ard Statistical Summary of Certain Liabilities and Related Data, if it
     applies                                                                                                                                   12.    5          7,859.60
                                                                                                                                                     Combined
                                                                                                                                                     monthly income
 13.   Do you expect an increase or decrease within the year after you file this form?
       C     No.
       •     Yes. Explain:   Nicole Orlando’s hours decrease in the Fall. Expect to lose property which generates rental income.




Otuicial Penn 1061                                                      Sched nit I: \‘our I econie                                                               page 2
        Case 18-23134-GLT                   Doc 23        Filed 08/30/18 Entered 08/30/18 15:54:10                                                              Desc Main
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 Fill In this information to identify your case:

 Debtor I                James A. Orlando, H                                                                        Check if this is:
                                                                                                                    C An amended filing
 Debtor 2                Nicole M. Orlando                                                                          C A supptement showing postpetition chapter
 (Spouse. fling)                                                                                                             13 expenses as of the following date

 Unted States Bankruptcy Court for the:   WESTERN DISTRICT OF PENNSYLVANIA                                                   MM iö5 iyyyy                   -   —               -




 Case number       18-23134                                                                            I
 (If   known)       -—
                                                                              —__________




                                                                                            -




 Official Form 106J
 Schedule J: Your Exppnses                                                                         -       —                 -                          -               --            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsIble for supplying correct
Information. If more space Is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

                Describe Your Household
 1.      Is this a joint case?
         C No. Go to line 2.
         • Yes Does Debtor 2 live In a separate household?
                 • No
                 C Yes. Debtor 2 must file Official Form 1 OSJ-2, Expanses for Separate Household of Debtor 2.
2.       Do you have dependents?          C No
         Do not list Debtor 1 and
         Debtor 2.
                                          • Yes    Fill out this information for
                                                   each dependent
                                                                                    Dependent’s relationship to
                                                                                    Debtor I or Debtor 2
                                                                                                                                     Dependent’s
                                                                                                                                     age
                                                                                                                                                                    Does dependent
                                                                                                                                                                    live with you?

         Do not state the                                                                 ,
                                                                                                                                                                    D Na
         dependents names.                                                          Child                                        -
                                                                                                                                        -
                                                                                                                                                                    I Yes
                                                                                                                                                                    CN0
                                                                                    Child                                                                           • Yes
                                                                                                                                                                    CNo
                                                                                                                                                                    C Yes
                                                                                                                                                                    CN0
                                                                                                                                                                    C Yes
3.       Do your expenses include
         expenses of people other than
                                                 • No
         yourself and your dependents?             Yes

EstimateYourOngoIng Monthly Expenses                                     -—           -     -                  -             -   -—.        —       —                —          —




Estimate your expenses as of your bankruptcy filing date unless you are using thIs form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this Is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have Included it on Schedule I: Your Income
(Official Form 1061.)                                                                                                                       Your expenses

4.       The rental or home ownership expenses for your residence, Include first modgage
         payments and any rent for the ground or lot.                                                               4. S                                                1,671,00

         If not included in line 4:

         4a.    Real estate taxes                                                                                  4a.   5                                                    0.00
         4b.    Property, homeowners, or renter’s insurance                                                        4b.   $                                                    0.00
         4c,    Home maintenance, repair, and upkeep expenses                                                      4c.   $
         4d.    Homeowner’s association or condominium dues                                                        4d.   $                      -
                                                                                                                                                                             3B0Q
5.       AdditIonal mortgage payments for your residence, such as home equity loans                                 5. $                                                      0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                                                       page 1
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Debtor 1    James A. Orlando, II
Debtor 2    Nicole Fyi. Orlando                                                                     Case number (Lf known)                                  18-23134

6.    Utilities:
      Ba.     Electricity, heat, natural gas                                                 Ga. $                                                                              200.00
      6b.    Water. sewer, garbage Collection                                                Sb. $                                                                               80.00
      6c.    Telephone. cat phone, internet. sateilite, and cable services                   6c. 5                                                                              425.00
      6d.    Other. Soecify:                                                                 Gd. $                                                                                0.00
7.    Food and housekeeping supplies                                           —               7. $                                                                            150000
8.    Childcare and children’s education costs                                                 8. $                                                                               o.oü
9.    clothing, laundry, and dry cleaning                                                      9. $                                                                             400.00
10.   Personal care products and services                                                    10. $
11.   Medicalanddentalexpenses                                                               11. 5                                                                                  ioo.oo
12    Transportation. Include gas, maintenance, bus or train fare,
      Do not include car payments.                                                           12. $                                              -       -                           550.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                                                  400.00
14.   Charitable contributions and religious donations                                       14. $                          -               -   -
                                                                                                                                                        -
                                                                                                                                                                                      000
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      I 5a. Life insurance                                                                 1 Ga. $                                                                                    0.00
      15b. Health insurance                                                                1Gb. $                                                                                     0.00
      15c. Vehicle insurance                                                               15c. $                                                                                   310.00
      15d. Other insurance. Specify:                  —

                                                          --
                                                                               —           15d. $                                                                                     0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                                                       0.00
17.   Installment or lease payments:
      1 7a. Car payments for Vehicle 1                                                     17a. $                                                                                   315.00
      1 7b. Car payments for Vehicle 2                                                      17b. $
      17c. Other. Specify:                                                                  17c. $                                                                                       000
      17d. Other.Specify:      —                 -         -        -—

                                                                         -
                                                                                            17d. $                                                                                       0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on lines, Schedule I, Your Income (Official Form 1061).         18. $                                                                                       0.00
19.   Other payments you make to support others who do not live with you.                         $                                     -                                                0.00
      Specify:                      —-                                                        19.
20.   Other real property expenses not included In lines 4 or S of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                       -—                                    —
                                                                                                                                                                                      0.00
      20o. Real estate taxes                                                               2Db. $                                                                                     0.00
      20c. Property, homeowners, or renter’s insurance                                      2Cc. $                                  -       -   —   ‘                  -       -      0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. S                       -
                                                                                                                                                                                      0.00
       20e. Homeowners association or condominium dues                                      20e. $                                                                         -         -0.00
21.   Other: Specify:        Horse Stable Fee                                                21. +5                                                                                 550.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                        $                                                  6,839.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 1 06J-2                               $
    22c. Add line 22a and 22b. The result is your monthly expenses.                                                     $                                         -




23.   Calculate your monthly net income.
      23a. Copy line 12 (your combined monthly income) from Schedule I.                                  23a. $                                                                L869.60
      23b. Copy your monthly expenses from line 22c above.                                               23b. -s                                                               6,839.00
                                                                                                                r   -




      23c. Subtract your monthly expenses from your monthly income.
                                                                                                         23c.                                                                      1,020.60
           The result is your monthly net income.                                                               L5              -




 24. Do you expect an increase or decrease in your expenses within the year after you file this form?
     For exam; e, do ycu expect Ic finisn cay ng for your car Ican w.th n he year Cr00 ycJ expect your mortgage payment to increase or Cec’ease because                                         of a
     mcd ricatior. to me terms Cf your modgage
     • No.
         Yes.            I Exolain here: These expenses do not contemplate the pyment of all mortqe payments.




Official Form 106J                                                Schedule J: Your Expenses                                                                                                            page 2
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 Fill In this Infonnaffon to Identify your case:
 Debtor 1                      James A. Orlando, II
                               First Name                             Middle Name             Last Name
 Debtor 2                      Nicole M. Orlando
 (Spouse if, filing)           First Name                             Middle Name         -   Last Name

 United States Bankruptcy Court for the;                       WESTERN DISTRICT OF PENNSYLVANIA

 Case number               18-23134
 (if knownf
                                                                                                                                           Q Check if this is an
                                                                                                                                                amended fi:ing


Official Form lO6Dec
Declaration About an Individual Debtor’s Schedules                                                                                                                  12115

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud In connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. § 152,1341,1519, and 3571.



                       Sign Below

        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

        •       No

        Q       Yes. Name of person                                                                                      Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                           —             Declaration, and Signature (Official Form 119)


       under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X IsI James A. Orlando, II                                                            X   Is! Nicole M. Orlando
          James A. Orlando, II                                                                    Nicole M. Orlando
          Signature of Debtor 1                                                                   Signature of Debtor 2

              Date kaP2018                                                    -____
                                                                                                  Date     gust 30,       18




Official Fern, iO6Dec                                               Declaration About an Individual Debtor’s Schedules
Software   copyright (0)   1 g95.201? ant case. LLc   -   www bestoase corn                                                                              Best case Bankruptcy
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Fill In this Information to Identify your case:
Debtor 1                      James A. Orlando, II
                              F,rst Namo                    t.1,ddte Name                Last Name

 Debtor 2                     Nicole M. Orlando
 SpoLse if,    f, ing)        First Nan a                   k1.dIe Name                  Last Name
                                                                                                                                  I

 United States Bankruptcy Court for the:             WESTERN DISTRICT OF PENNSYLVANIA

 Case number             18-23134
     hinown)             -—


                                                                                                                                           C   Check if this is an
                                                                                                                              -   J            amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                     4/16
Be as complete and accurate as possible, If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (If known). Answer every question.

Give Details About Your Marital Status and Where                             ! Lived     Before                                                                      -




1.      What is your current marital status?

         •      Married
        C       Not married

2.      During the last 3 years, have you lived anywhere other than where you live now?

         I      No
        C       Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

         Debtor I Prior Address:                                 Dates Debtor I             Debtor 2 Prior Address:                                Dates Debtor 2
                                                                 lived there                                                                       lIved there

3. Within the last 8 years1 did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

        •       No
        C       Yes. Make sure you fill out Schedule H: Your Codebtors (Officiai Form 106H).

 -.                Explain the Sources of Your Income

4.       Did you have any income from employment or from operating a business during this year or the two previous calendar years?
         Fill in the total amount of income you received from all jobs and all businesses, inc!uding part-time activities.
         If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

         CNo
         • Yes. Fill in the details.

                                                   Debtor I                                                        Debtor 2
                                                   Sources of income                Gross Income                   Sources of income               Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.           (before deductions
                                                                                    exclusions)                                                    and exclusions)
 For last calendar year:                           • Wages, commissions,                          $97,802.00       C Wages, commissions.                             $0.00
 (January ito December 31,2017)                    bonuses, tips                                                   bonuses, tips

                                                   • Operating a business                                          C   Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                              page I
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Debtor 1       James A. Orlando, II
Debtor 2       NicoleM. Orlando                                                                                  Case number ut known)      18-23134

                                                         Debtor I                                                         Debtor 2
                                                         Sources of income                Gross income                    Sources of income               Gross income
                                                         Check all that apply.            (before deductions and          Check all that apply.           (before deductions
                                                                                          exclusions)                                                     and exclusions)
 For the calendar year before that:                      • Wages, commissions,                      $107,101.00           C Wages, commissions,                               $0.00
 (January Ito December 31,2016)                                                                                           bonuses, tips
                                                         bonuses, tips
                                                         • Operating a business                                           C   Operating a business


5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable, Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings, if you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

      •     No
      C     Yes. Fill in the details.

                                                         Debtor I                                                         Debtor 2
                                                         Sources of income                Gross income from               Sources of income               Gross Income
                                                         Describe below,                  each source                     Describe below.                 (before deductions
                                                                                          (before deductions and                                          and exclusions)
                                                                                          exclusions)

              LlstCeftaln Payments You Made Before You Filed for Bankrupy                                             —

                                                                                                                          -




6.    Are either Debtor l’s or Debtor 2’s debts primarily consumer debts?
      I No. Neither Debtor I nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C.                                   §   101(8) as ‘incurred by an
                 individual primarily for a personal, family, or household purpose.’

                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425’ or more?
                      • No.      Go to line 7.
                      C Yes List below each creditor to whom you paid a total of $6,425 or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                       Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.
                       *




      C      Yes. Debtor I or Debtor 2 or both have primarily consumer debts.
                  During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                       C    No.         Go to line 7.
                       C    Yes         List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                        include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                        attorney for this bankruptcy case.


       Creditors Name and Address                                    Dates of payment              Total amount           Amount you        Was this payment for
                                                                                                           paid             still owe

7.    Within I year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

      •      No
      C      Yes. List all payments to an insider.
       Insiders Name and Address                                     Dates of payment              Total amount           Amount you         Reason for this payment
                                                                                                           paid             still owe




Official Form 107                                            Statement of Financial Affairs ror IndivIduals Filing for Bankruptcy                                                page 2
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                                                     -
                                                                                                                                                                aosi   case   flankrupicy
        Case 18-23134-GLT                                  Doc 23             Filed 08/30/18 Entered 08/30/18 15:54:10                                   Desc Main
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 Debtor 1      James A. Orlando, II
 Debtor 2       Nicole M. Orlando                                               -
                                                                                              -                     Case number       it known)   18-23134

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

       •     No
      D      Yes. List all payments to an insider
       Insiders Name and Address                                         Dates of payment             Total amount         Amount you             Reason for this payment
                                                                                                              paid           still owe            Include creditor’s name
 -.-          Identify Legal Actions, Repossessions, and Foreclosures                                   -




9,    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

      ONo
      • Yes. Fill in the details.
       case title                                                        Nature of the case          Court or agency                              Status of the case
       case number
       Bridgeway Capital, Inc. v. Artevino,                              Breach of                   Court of Common Pleas of                     • Pending
       LLC, et al                                                        Contract                    Alegheny Co.
       GD 18-007100                                                                                                                               C On appeal
                                                                                                                                                  C Concluded

                                                                                                                                                  Stayed

       The Bank of New York Mellon v.
       Nicole Orlando, et al
                                                                         Mortgage                    Court of Common Pleas of                     • Pending
                                                                         Foreclosure                 Allegheny Co.
       GD 18-000195                                                                                                                               C On appeal
                                                                                                                                                  C Concluded

                                                                                                                                                  Stayed

       Federal National Mortgage
       Association v. Jamie A. Orlando, et
                                                                         Mortgage                    Court of Comon Pleas of                      • Pending
                                                                         Foreclosure                 ALlegheny Co.                                C On appeal
       MG 18-000421                                                                                                                               C Concluded

                                                                                                                                                  Stayed

       CitiMortgage, Inc., et al v. James A.
       Orlando, II, et al
                                                                         Mortgage                    Court of Common Pleas of                     • Pending
                                                                         Foreclosure                 Allegheny Co.
       GD 17-005074                                                                                                                               C On appeal
                                                                                                                                                  C Concluded

                                                                                                                                                  Stayed

       CitiMortgage, Inc.. et al, v. James                               Mortgage                    Court of Common Pleas of                     •   Pending
       A. Orlando, II, et al                                             Foreclosure                 Allegheny Co.
       MG 18-000048
                                                                                                                                                  C   On appeal
                                                                                                                                                  C   Concuded

                                                                                                                                                  Stayed

       Bank of America, N.A. v. James                                    Mortgage                   Court of Common Pleas of                      • Pending
       Orlando, II, et al                                                Foreclosure                Allegheny Co.                                 C On appeal
       MG 17-aol 536
                                                                                                                                                  C Concluded

                                                                                                                                                  Stayed




Official Form 107                                              Statement of Financial Afralrs for Individuals Filing (or Bankruptcy                                                page 3
Software Copyright (ci 1996.20)7   Oest Case, LLC   -   w’4v beatcaso corn                                                                                        Best   case   Bankruptcy
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 Debtor 1         James A. Orlando, II
                                                                        Document     Page 37 of 58
 Debtor 2         Nicole M. Orlando                                                                     -       Case number       iffknown)   18-23134

       Case title                                                   Nature of the case           Court or agency                              Status of the case
       Case number
       Bridgeway Capital, Inc. v. Sinfully                          Breach of                    Court of Common Pleas of                     •   Pending
       Artistic, LLC, et al                                         Contract                     Allegheny Co.
       GD 18-006689                                                                                                                           C   On a pp ea
                                                                                                                                              C   Concluded

                                                                                                                                              Stayed

       American Express, FSB v.                                     Debt Collection             Court of Common Pleas of                      •   Pending
                    et al                                                                       Allegheny Co.
                                                                                                                                              C   On appeal
                                                                                                                                              C   Concluded

                                                                                                                                              Stayed

       American Express Bank v. James                               Debt Collection             Court of Common Pleas of                      •   Pending
       A. Orlando, et al                                                                        Allegheny Co.
       AR 17-002730
                                                                                                                                              C   On a p.oeal
                                                                                                                                              C   Concluded

                                                                                                                                              Stayed

       Bank of New York Mellon, et al v.                            Mortgage                    Court of Common Pleas of                      •   Pending
       James Orlando, II, et al                                     Foreclosure                 Erie Co.
                                                                                                                                              C   On appeal
                                                                                                                                              C   Concluded

                                                                                                                                              Stayed


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check at) that apply and fill in the details below.

      •        No. Gate line 11.
      C        Yes. Fill in the information below.
       Creditor Name and Address                                    Describe the Property                                           Date                           Value of the
                                                                                                                                                                      property
                                                                    Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
    • No
    C Yes. Fill in the details.
       Creditor Name and Address                                    Describe the action the creditor took                           Date action was                     Amount
                                                                                                                                    taken
12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?
      •        No
      C        Yes

IMTiEa List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
    • No
    C Yes. Fill in the detais for each gift.
       Gifts with a total value of more than $600                         Describe the gifts                                        Dates you gave                         Value
       per person                                                                                                                   the gifts

       Person to Whom You Gave the Gift and
       Address:



Official Form 107                                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                              page 4
Software   copyright Ic)   1996-2017 Best Case, LLC vvw bestcase corn
                                                   -
                                                                                                                                                                Best case Bankruptcy
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                                                            —
                                                                                                                            Case number Wknown)       18-23134

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
      •     No
            Yes. Fill in the details for each gift or contribution.
      Gifts or contribuUons to charities that total                                     Describe what you contributed                          Dates you                        Value
      more than $600                                                                                                                           contributed
      Charity’s Name
      Address INumber, Street, City, Stale and                   ZIP   Coda)


Ifl           List Certain Losses           —                -                                -




15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

      •     No
            Yes. Fill in the details.
       Describe the property you lost and                                      Describe any Insurance coverage for the loss                    Date of your       Value of property
       how the loss occurred                                                   Include the amount that insurance has paid. List pending        loss                            lost
                                                                               insurance claims on line 33 of Schedule A’V: Pmper’.

              List Certain Payments or Transfers                                    -                                                                   -




16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

      •     No
            Yes. Fill in the details.
       Person Who Was Paid                                                              Description and value of any property                  Date payment              Amount of
       Address                                                                          transferred                                            or transfer was            payment
       Email orwebsite address                                                                                                                 made
       Person Who Made the Payment, If Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

      CNo
      •     Yes. Fill in the details.
       Person Who Was Paid                                                              Description and value of any property                  Date payment               Amount of
       Address                                                                          transferred                                            or transfer was             payment
                                                                                                                                               made
       RobertO Lampl                                                                    Attorneys Fees                                         Throughout               $12,000.00
       223 Fourth Avenue, 4th Floor                                                                                                            2017 -2018
       Pittsburgh, PA 15222


18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred In the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your prooerty). Do not
     nc!ude gifts and transfers that you have already listed on this statement.
      •     No
      C     Yes. Fill in the details.
       Person Who Received Transfer                                                     Description and value of                 Describe any property or        Date transfer was
       Address                                                                          property transferred                     payments received or debts      made
                                                                                                                                 paid in exchange
       Person’s relationship to you




Official Form 107                                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 5
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  Debtor 2       Nicole NI. Orlando                                                                                   Case number               18-23134
                                                                                          —
                                                                                                                                     ‘ known)


 19. Within 10 years before you tiled for bankruptcy, did you transfer any property to a self-settled trust or similar
                                                                                                                       device of which you are a
     beneficiary? (These are often called asset-p rotection devices,)
     • No
     C Yes. Fill in the details.
      Name of trust                                        Description and value of the property transferred                    Date Transfer was
                                                                                                                                made
Listof Certain Financial Accounts, Instruments, Safe DeppjBoxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name,
                                                                                                                 or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial account5; certificates of deposit; shares in banks, credit
                                                                                                                           unions, brokerage
    houses, pension funds, cooperatives, associations, and otherfinancial institutions,
    • No
    C Yes. Fill In the details,
       Name of Financial Institution and                            Last 4 digits of                 Type of account or           Date account was             Last balance
       Address lNumber, Street, City, State and ZIP                 account number                   instrument                   closed, sold,            before closing or
       code)
                                                                                                                                  moved, or                         transfer
                                                                                                                                  transferred
21. Ca you now have, or did you have withIn 1 year before you filed for bankruptcy, any safe deposit box or other depository
                                                                                                                             for securIties,
    cash, or other valuables?

       •No
       C Yes. Fill in the details.
       Name of Financial Institution                                    Who else had access to it?                    Describe the contents                Do you still
       Address (Number, Street      city, State and P Code)             Address (Number, s,,t, city,                                                       have it?
                                                                        Slate end ZiP code)

22.   Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

      •      No
      C      Yes. Fill in the details.
       Name of Storage Facility                                         Who else has or had access                    Describe the contents                Do you still
       Address (Number, Street, City, State and ZIP code)               to it?                                                                             have it?
                                                                        Address (Number, Street,         city.
                                                                        Stale and ZIP Code)

 -.,            Identify Prqpy You Hold or Control for Someone Else

23.   Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
      for someone.

      •      No
      O      Yes. Fill In the details.
       Owner’s Name                                                     Where is the property?                        Describe the property                             Value
       Address (Number, Street     city, State and ZIP Codei            Number, Street,   city,   State and ZIP
                                                                        Code)

IF5iI’ Ghte Details About Environmental Information                                                        -      -      -    -




For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material Into the air, land, soil, surface water, groundwater, or other medium, including Statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
I     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
•     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.



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  Debtor 2      NicoleM. Orlando                                                                                  Case number(rknown)
                                                                                                      -
                                                                                                                                           1823134

 24. Has any governmental unit notified you that you may be liable or potentially liable
                                                                                         under or in violation of an environmental law?

       •No
       C  Yes. Fill in the details.
       Name of site                                                  Governmental unit                                  Environmental law, if you         Date of notice
       Address (Number, Street, City, Slate and ZIP Codel            Address Number, Street, City, State and            know It
                                                                     ZIP Code)

 25.   Have you notified any governmental unit of any release of hazardous material?

       •     No
       O     Yes. Fill in the details.
        Name of site                                                 Governmental unit                                  Environmental law, if you
       Address (Number, Street, City, State and ZIP Codel                                                                                                 Date of notice
                                                                     Address (Number, Street,   City, State and         know it
                                                                     ZIP Code)

 26. Have you been a party In any judicial or administrative proceeding under any environment
                                                                                              al law? Include settlements and orders.
       •     No
       O Yes. Fill in the details.
       Case Title                                                   Court or agency                               Nature of the case
       Case Number                                                                                                                                        Status of the
                                                                    Name                                                                                  case
                                                                    Address iNunb&, Street, City,
                                                                    state and ZIP Code(

Give Details About Your Business or ConnectIons to Ay Business                                        -                -—      -
                                                                                                                                           -          -




 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following
                                                                                                              connections to any business?
          C A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
             • A member of a limited liability company (LLC) or limited liability partnership
                                                                                              (LLP)
             CA partner in a partnership
             C An officer, director, or managing executive of a corporation
             C An owner of at least 5% of the voting or equity securities of a corporation
       C     No. None of the above applies. Go to Part 12.
       •     Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                   Describe the nature of the business                              Employer Identification number
       Address                                                                                                          Do not include Social Security number or TIN.
       (Number, Street, City. State and ZIP Code)
                                                                Name of accountant or bookkeeper
                                                                                                                        Dates business existed
       Sinfully Artistic, LLC                                   Painting With A Twist franchise                         EIN:
       310 Windsor Drive
       Coraopolis, PA 15108                -
                                                                Hill Barth & King         -
                                                                                                                   -    From-To    2012-2017

       Artevino, LLC                                            Painting With A Twist franchise                         EIN:
       2512 Hawthorne Drive
       Oakdale, PA 15071                                        Hill Barth & King                          -            From-To    2015-2017

       Orlando Property Group LLC                               Manage Rental Properties                                EIN:
       1319 Barr Avenue
       Pittsburgh, PA 15205                                 -   Hill barth & King                                       From-To      -




       Orlando Accounting Services, LLC                         Consulting Services                                     EiN:
       310 Windsor Drive
       Coraopolis, PA 15108                                     Hill Barth & King                                       From-To    2007-2008




Offlcai Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy
                                                                                                                                                                       page 7
Soiware Cont c) I 95-2O1 7 Best Case LLC www bescasa c—
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  Debtor 2       Nicole M. Orlando                                                                                      Case number                  1823134
                                                                                                                                         if knoWn)



 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about
                                                                                                        your business? Include all financial
     institutions, creditors, or other parties.

         ONo
         •    Yes. Fill in the details below.
         Name                                                                  Date Issued
         Address
         (Number, Street, city, State and ZIP Code)
         Bridgeway Capital                                                     June 18, 2018
         do Michael McCague
         408 Cedar Avenue
         Pittsburg[L PA 15212



I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty
                                                                                                                of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money
                                                                                                          or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. § 152,1341,1519, and 3571.

 !! James A. Orlando,              II                                                 lsl Nicole M. Orlando
 James A. Orlando, II                                                                 Nicole M. Orlando
 Signature of Debtor I                                                                Signature of Debtor 2

  Date       Augj302o18                 -   -
                                                   -
                                                                                      Date     August pg018

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form
                                                                                                                            107)?
• No
    Yes

Did you pay or agree to pay someone who Is not an attorney to help you fill out bankruptcy forms?
• No
D Yes Name of Person                            Attach the Bankruptcy Petition Prepames Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 8
Saltware Copyr,ght (a) 1996.2017 Oest case, LLC            \WNJ besIcase cam
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                                                                                                                                                               fleet   Case Bankruotcv
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  Fill In this Information to Identify your case:
  Debtor 1                      James A. Orlando, II
                                :rst Name                              M;o:.e Na,e                 Last Name
  Debtor 2                      Nicole M. Orlando
  Spose ,t, 14mg)               F,rst Name                             M’da)e Name                 Lost Name

  United States Bankruptcy Court for the:                        WESTERN DISTRICT OF PENNSYLVANIA                   -




  Case number              18-23134
  ,1 mown)                     —



                                                                                                                                           CrtOCK if this san
                                                                                                                                           amended rting


 Official Form 108
 Statement of Intention for Individuals Filing Under Chapter 7                                                                                              iz’is

 If you are an individual filing under chapter 7, you must fill out this form if:
 • creditors have claims secured by your property, or
• you have leased personal property and the lease has not expired.
You must file this form with the court within 3D days after you file your bankruptcy petition or by the date set for the
                                                                                                                         meeting of creditors,
        whichever Is earlier, unless the court extends the time for cause. You must also send copies to the creditors
                                                                                                                          and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
                                                                                                                           Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On
                                                                                                           the top of any additional pages,
         write your name and case number (if known).

  -.           List Your Creditors Who Have Secured Claims                                   -




1. For any creditors that you listed in Part I of ScheduleD: Creditors Who Have Claims Secured by Property (Official Form
                                                                                                                          1060), fill In the
   information below.
    Identify the creditor and the property that Is collateral What do you Intend to do with the property that    Did you claim the property
                                                              secures a debt?                                    as exempt on Schedule C?


       Creditor’s         Bank of America
       name:
                                                                                     S   Surrender the property.                  • No
                                                                                     C   Retain the property and redeem it
                                                                                     C   Retain the property and enter into a         Yes
       Description of         3112 Ashlyn Street Pittsburgh,                              Reaffirmation Agreement.
       property               PA 15204 Allegheny county                              C   Retain the property and [explain]:
       securing debt:



    Creditor’s        Bayview
       name:
                                                                                     S Surrender the property.                    • No
                                                                                     C Retain the property and redeem it.
                                                                                     C Retain the property and enter into a       C   Yes
    Description of           5515 Second Avenue                                        Reaffirmation Agreement.
    property                 Pittsburgh, PA 15207 Allegheny                          C Retain the property and [explain]:
    securing debt:           County



    Creditor’s        Bridgecrest                                                    C Surrender the property.                    C   No
    name:                                                                            C Retain the property and redeem it.
    Descrtption of           car in good standing
                                                                                     • Retain the property and enter into a       • Yes
                                                                                       Reaffirmation Agreement
    property                                                                         C Retain the property and [explain].

Official Form 1DB                                                 Statement of Intention for Individuals Filing Under Chapter 7                                 page 1
Software Coptight   (ci   I 996-2D1 7 Best   Case.   LLc vA%w bestcase corn
                                                         .

                                                                                                                                                   Best Case Bankruptcy
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Debtor 1       James A. Orlando, II
Debtor 2       Nicole M. Orlando                                                                      -       Case number   it known)    18-23134

    securing debt:



    Creditor’s       Citimortgage                                             • Surrender the property.                                     I No
    name:                                                                     C Retain the property and redeem it.
                                                                              C Retain the property and enter into a                        C Yes
    Description of         1319 Barr Avenue Pittsburgh,                         Reaffirmation Agreement.
    property               PA 15205 Allegheny County                          C Retain the property and [explain]:
    securing debt:



    Creditor’s       Mr. Cooper                                               C Surrender the property.                                     C No
    name:                                                                     C Retain the property and redeem it.
                                                                              • Retain the property and enter into a                            Yes
    Description of         310 Windsor Avenue                                   ReaffirmationAgmement
    property               Coraopolis, PA 15108                               C Retain the property and [explain]:
    securing debt:         Allegheny County



    Creditor’s       Seterus Inc.                                             • Surrender the property.                                     • No
    name:                                                                     C Retain the property and redeem it.
                                                                              C Retain the property and enter into a                        C Yes
    Description of         2719 Sacramento Avenue                               ReaffirmationAgreement.
    property               Pittsburgh, PA 15204 Allegheny                     C Retain the property and [explain]:
    securing debt:         County



    Creditor’s       ShellPoint                                               • Surrender the property.                                     • No
    name:                                                                     C Retain the property and redeem it.
                                                                              C Retain the property and enter into a                        C Yes
    Description of         2215 Eastlawn Parkway Erie, PA                       Reaffirmation Agreement.
    property               16510 Erie County                                  C Retain the property and [explain]:
    securing debt:

                                                                                  ,   -   —   —   -       —   -   -                         -




For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
In the Information below. Do not list real estate leases, unexpired leases are leases that are stilt In effect; the lease period has not yet ended.
You may assume an unexpired personal property lease If the trustee does not assume It. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                                       Will the lease be assumed?

 Lessor’s name:                                                                                                                         C No
 Description of leased
 Property:                                                                                                                              C Yes

 Lessors name:                                                                                                                          C No
 Description of leased
 Property:                                                                                                                              C Yes

 Lessor’s name:                                                                                                                         C No
 Description of leased
 Property:                                                                                                                              C Yes

 Lessor’s name:                                                                                                                         C No


Official Form 108                                            Statement of Intention for Individuals Filing Under Chapter 7                                           page 2

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  Debtor 1      James A. Orlando, II
  Debtor 2      NicoleM. Orlando            —     -      -
                                                                                                              Case number   (if known)    I 823134

  Description of (eased
  Property                                                                                                                                   Yes

  Lessors name:
  Description of eased
                                                                                                                                         c   No
  Property:
                                                                                                                                             Yes
 Lessors name
 Description of leased
                                                                                                                                         Q No
 Properly.
                                                                                                                                         c   Yes

 Lessors name:
 Description of eased
 Property:
                                                                                                                                         D Yes
SignBelow                                                              -
                                                                                                               -
                                                                                                                            -




Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     Isi James A. Orlando, II                                                             X Is! Nicole M. Orlando
       James A. Orlando, II                                                                     Nicole M. Orlando
        Signature of Debtor 1                                                                   Signature of Debtor 2

        Date        $yst3D, 2018                                  —                         Date    Ajgust 3D, 2018             -   —   -________




Official Form 108                                               Statement of Intention for Individuals Filing Under Chapter 7                                       page 3
Software Copyright (c) 1996.2017 Best case! LLC   -   vAAv   bestcase corn                                                                              Best case Bankrupicy
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Fill In this information to !denti& your case:                                                              Check one box only as directed In this form and In Form
                                                                                                            122A-lSupp:
Debtor 1                James A. Orlando, II
Debtor 2                Nicole M. Orlando                                                                     • 1. There is no presumption of abuse
(5posa If. i-’g
                                                                                                              C 2.         The calculation to determine ta presump:ion of abuse
I United States Bankruptcy Court for the:             Western District of Pennsylvania                                      applies will be made under Chapter 7 Means Test
                                                                                                        I                   Calculation (Official Form 122A-2).
 Case number            18 -2 3 134
 (if known)                                                                                                   C        3, The Means Test does not apply now because of
                                                                                                                   -       quaUfied military service but it could apply later.
                                                                                                               C       Check if this is an amended filing

Official Form 122A- 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                                 12115

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional Information applies. On the top of any additional pages, write your name and
case number lit known), If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Sfafemenf ofExemprion from Presumption of Abuse Under& 707(b) (2) (Official Form 122A-lsupp) with this form.
                    Calculate Your Current Monthly Income

     1.     What Is your marital and filing status? Check one only.
            C   Not married, Fill out Column A. lines 2-11.
            C   Married and your spouse Is filing with you. Fill out both Columns A and B, lines 2-1 1.
            C   Married and your spouse is NOT filing with you. You and your spouse are:
                C    Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11,
                C    Living separately or are legally separated. Fill out Column A, tines 2-11 do not fill out Column B. By checking this box, you declare under
                     penalty of perjury that you and your spouse are legally separated under r.onbankruplcy law that applies or that you and your spouse are
                      iving apart for reasons tnat do not include evaoing the Means Test requirements. 11 U SC § 707(b)(7)(B)
          Fill In the average monthly income that you receIved from all sources derIved during the 6 full months before you file thisobankruptcy case. Ii u S.C §
          101(1 oA) Fcr example. .f ycu are fling on September 15. the 6.month per:od would be March 1 through August 31. If the amount ycur r.cr,iiy income vared during
                                                                                                                                                         For example. It both
          the 6 months, add ihe income tar all 6 montns and divae the totai by 6. Fill in the result. Do not Include any income amount more than once.
                                                                                                                                     for any line, wnte $0 in the space
          spouses own the same rental property, put the income from that properly in one column only If you have nothing to report
                                                                                                                   Column A                   Column B
                                                                                                                   Debtor I                   Debtor 2 or
                                                                                                                                              non-filing spouse
      2.     Your gross wages, salary, tips, bonuses, overtime, and commissions (before all                                                   S
             payroll deductions)
      3. Alimony and maintenance payments. Do not include payments from a spouse if                                $                           $
         Column B is filled in
      4. All amounts from any source which are regularly paid for household expenses
         of you or your dependents, including child support. Include regular contributions
         from an unmarried partner, members of your household, your dependents, parents,
             and roommates. Include regular contributions from a spouse only if Column B is not                                                $
                                                                                                                   $
             filled in. Do not include payments you listed on line 3.
      5.     Net income from operating a business, profession, or farm
                                                                                             Debtor I
             Gross receipts (before all deductions)                           S
             Ordinary and necessary operating expenses                       ‘S
                                                                                                 Copy here    ->   $                           $
         Net monthly income from a business, profession, or farm $                   ,   -




      6. Net Income from rental and other real property
                                                                                             Debtor I
             Gross receipts (before all deductions)                           $
             Ordinary and necessary operating expenses                       -S
                                                                                                  Copy here   ->   $                           S
 I           Net monthly income from rental or other real property           $
                                                                                                                       $                       $
       7.     Interest, dividends, and royalties




                                                              Chapter? Statement of Your Current Monthly Income                                                                  page 1
     Official Form 122A-1
                                      aesl Case, LLC - ‘WWw tescasa n
                                                                                                                                                                   Oes   case   an.r..Ncy
     Softwre Cccgrl IC) I 996.2017
          Case 18-23134-GLT                              Doc 23            Filed 08/30/18 Entered 08/30/18 15:54:10                                   Desc Main
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 Demoi”          James A. Orlando, II
 Deolor2         Nicole M. Orlando                                                                       case number     If   known)      18—23134


                                                                                                       Column A                           Column B
                                                                                                       Debtor I                           Debtor 2 or
                                                                                                                                          non-filing spouse
    8.  Unemployment compensation                                                           $                                         -   $
        Do not enter the amount if you contend that the amount received was a benefit under
        the Social Security Act. Instead, list it here:
           For you                                             $
           For your spouse       -
                                                            .  $
    9. Pension or retirement income. Do not include any amount received that was a
        benefit under the Social Security Act.                                              S                                             S
    10. Income from all other sources not lIsted above. Scecfy the source and amount.
        Do not include any benefits received under the Social Security Act or payments
        received as a victim of a war crime, a crime against humanity, or international or
        domestic terrorism. If necessary, list other sources on a separate page and put the
        total below.


                                                                                                                                  -       $
                    Total amounts from separate pages, if any.                                      +5                                    $
                                                                                                                -    1
    11. Calculate your total current monthly income. Add lines 2 through 10 for
        each column. Then add the total for Column A to the total for Cotumn B.                 $                        +                             =5

                                                                                                                                                           Total cunent monthly
                                                                                                                                                           Income
iiiwa             Determine Whether the Means Test Applies to You

    12. calculate your current monthly income for the year. Follow these steps:
         12a, copy your total current monthly income from line 11                                             copy line 11 herer>

                Multiply by 12 (the number of months in a year)
                                                                                                                                                            x 12
         1 2b. The result is your annual income for this part of the form                                                                       12b. $

    13. calculate the median family income that applies to you. Follow these steps.
         Fill in the state in which you live

         Fill in the number of people in your household.
                                                                              n
         Fill in the median family income for your state and size of household.                                                                 13.    5
         To find a list of applicable median income amounts, go onUne using the link specified in the separate instructions
         for this form. This list may also be available at the bankruptcy clerks office.
   14. How do the lines compare?
         l4a.      C    Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There’s no presumption of abuse.
                        Go to Part 3.
         14b.      C    Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                        Go to Part 3 and fill out Form 122A-2.
                  Sign Below
                By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

                X Is! James A. Orlando, II                                                X Is! Nicole M. Orlando
                  James A. Orlando, II                                                       Nicole M. Orlando
                  Signature of Debtor 1                                                      Signature of Debtor 2
          Date August 30, 2018              ——             -       -                    Date Aug30,_2018                 -.




                  MM/DD /YYYY                                                                MM/DD /YYYY
              If you checked line 14a. do NOT fill out or file Form 122A-2.
                If you checked line 14b, fill out Form 122A-2 and rIle It with this form.
U



Official Form 1 22A-1                                           chapter? Statement of Your Current Monthly Income                                                        page 2
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                                                                     Document     Page 47 of 58

Flu in   this information to        identify your case:

 Debtor 1            James A.        Prin. 1
Debtor 2            Nicole M. Orlando
(Spouse, if filing)

 United States Bankruptcy Court for the:              Western District of Pennsylvania

Case number              18-23134                                                                0   Check if this is an amended filing




Official Form 122A                       -   lSupp
Statement of Exemption from Presumption of Abuse Under                                                                   §   707(b)(2)                             12115
File this supplement together with Chapter 7 Statement of your Current Monthly Income (Official Form 1 22A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions In this statement applies to only one of you, the other person should complete a separate Form 122A-1 If you believe that this is
required by 11 U.S.C. § 707(b)(2)(C).


fl1
               Identify the Kind of Debts You Have
       Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as incurred by an ir.divdual phmari:y for a
       personal, family, or household purpose Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
       Individuals Filing for Bankruptcy (Official Form 1).

       • No      Go to Form 122A-1; on the top of page 1 of that form, check box 1 There is no presumption of abuse, and sign Part 3. Then submit this
                 supplement with the signed Form 12241.
       C    Yes. Go to Part 2.

IFflW          Determine Whether Military Service Provisions Apply to You
  2. Are you a disabled veteran (as defined in 38 U.S.C.                §   3741(1))?
     C No Go to line 3.
       o Yes.      Did you incur debts mostly whie you were on active duty orwhi!e you were oehorming a homela’,d oe’ense act;v;:y?
                    D U.S.C. § 1D1(d)(1): 32 U.S.C. § 901(1).
              O    No.   Go to line 3.
              O    Yes.    Go to Form 122A-1: on the top of page 1 of that form, check box I, There is no presumption of abuse, and sign Part 3. Then
                           submit this supp’ement with the signed Form 122A-1.

  3. Are you or have you been a Reservist or member of the National Guard?
     C No. Complete Form 12241. Do not submit this supplement.
       C    Yes.    Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C.     §   101 (d)(1); 32 U.S.C.   §   901 (1).
              C    No.  Complete Form 122A-1. Do not submit this supplement.
              C    Yes.    Check any one of the following categories that applies:
                                                                                             If you checked one of the categories to the left, go to Form
                    C      I was called to active duty after September 11,2001, for at least 1 22A-1. On the top of page 1 of Form 122A-1,check box 3,
                           90 days and remain on active duty.                                The Means Test does not apply now, and sign Part 3. Then
                                                                                             submit this supplement with the signed Form 12241 You
                    C      I was called to active duty after September 11,2001, for at least are not required to fill out the rest of Official Form 12241
                           90 days and was released from active duty on                      during the exclusion period. The exclusion pedod means
                           which is fewer than 540 days before I file this bankruptcy case,  the time you are on active duty or are performing a
                                                                                             homeland defense activity, and for 540 days afterward. 11
                     C     lam performing a homeland defense activity for at least 90 days. U.S.C
                                                                                                     § 707(b)(2)(D)oi).
                     C     I performed a homeland defense activity for at least 90 days,

L__.                                                    ,which is fewerthan S4odaysbeforei                                                        is closed.
                           ending on                                                                                    nt5e
                                              case.




Official Form I 22A-1 Supp                         Statement of Exemption from Presumption of Abuse Under   §   707(b)(2)                                      page 1
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                                               -
                                                                                                                                                       Best case Bankruptcy
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Notice Required by 11 U.S.C. § 342(b) for
IndMdualsFiliqq for Bankruptcy (Form 2010)                                                                        --     ——




                                                                                                        Chapter 7;             Liquidation
This notice is for you if:                                                                          -




                                                                                                            —      $245       filing fee
       You are an individual filing for bankruptcy,
       and                                                                                                             $75    administrative fee

       Your debts are primarily consumer debts.                                                         +              $15    trustee surcharge
       Consumer debts are deflned in 11 U.S.C.
       § 101(8) as ‘incurred by an individual                                                                      $335       total fee
       primarily for a personal, family, or
       household purpose.”                                                                              Chapter 7 is for individuals who have financial
                                                                                                        difficulty preventing them from paying their debts
                                                                                                        and who are willing to allow their nonexempt
The types of bankruptcy that are available to                                                           property to be used to pay their creditors. The
individuals                                                                                             primary purpose of filing under chapter 7 is to have
                                                                                                        your debts discharged. The bankruptcy discharge
Individuals who meet the qualifications may file under                                                  relieves you after bankruptcy from having to pay
one of four different chapters of Bankruptcy Code:                                                      many of your pre-bankruptcy debts. Exceptions exist
                                                                                                        for particular debts, and liens on property may still
       Chapter 7       -   Liquidation                                                                  be enforced after discharge. For example, a creditor
                                                                                                        may have the right to foreclose a home mortgage or
       Chapter 11          -   Reorganization                                                           repossess an automobile.

       Chapter 12 -Voluntary repayment plan                                                             However, if the court finds that you have committed
                   for family farmers or                                                                certain kinds of improper conduct described in the
                   fishermen                                                                            Bankruptcy Code, the court may deny your
                                                                                                        discharge.
       Chapter 13          -Voluntary repayment plan
                           for individuals with regular                                                 You should know that even if you file chapter 7 and
                           income                                                                       you receive a discharge, some debts are not
                                                                                                        discharged under the law. Therefore, you may still
                                                                                                        be responsible to pay:
You should have an attorney review your
decision to file for bankruptcy and the choice of                                                               most taxes;
chapter.
                                                                                                                most student loans;

                                                                                                                domestic support and property settlement
                                                                                                                obligations;




Notice Required by II      u.s.c. § 342(b) for       individuals Flung for Bankruptcy (Form 2010)                                                                page I

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          most fines, penalties, forfeitures, and criminal                                         your income is more than the median income for your
          restitution obligations; and                                                             state of residence and family size, depending on the
                                                                                                   results of the Means Test, the U.S. trustee, bankruptcy
          certain debts that are not listed in your bankruptcy                                     administrator, or creditors can file a motion to dismiss
          papers.                                                                                  your case under § 707(b) of the Bankruptcy Code. If a
                                                                                                   motion is filed, the court will decide if your case should
  You may also be required to pay debts arising from:                                              be dismissed. To avoid dismissal, you may choose to
                                                                                                   proceed under another chapter of the Bankruptcy
          fraud or theft;                                                                          Code.
          fraud or defalcation while acting in breach of                                           If you are an individual filing for chapter 7 bankruptcy,
          fiduciary capacity;                                                                      the trustee may sell your property to pay your debts,
                                                                                                   subject to your right to exempt the property or a portion
          intentional injuries that you inflicted; and                                             of the proceeds from the sale of the property. The
                                                                                                   property, and the proceeds from property that your
          death or personal injury caused by operating a                                           bankruptcy trustee sells or liquidates that you are
          motor vehicle, vessel, or aircraft while intoxicated                                     entitled to, is called exempt property. Exemptions may
          from alcohol or drugs.                                                                   enable you to keep your home, a car, clothing, and
                                                                                                   household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                             the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                                Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                                 you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A—1) if you are an                                               as Exempt (Official Form 1 06C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                            property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                               proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form1                                           Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Off cial Form
 122A—2).
                                                                                                               $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                                    +          $550    administrative fee
 Calculation (Official Form 1 22A—2). The calculations on
 the form— sometimes called the Means Test—deduct                                                              $1,717    totalfee
 from your income living expenses and payments on
 certain debts to determine any amount available to pay                                            Chapter 11 is often used for reorganizing a business,
 unsecured creditors. If                                                                           but is also available to individuals. The provisions of
                                                                                                   chapter 11 are too complicated to summarize briefly.




Notice Required by ii        u.s.c. §   342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. § 162, 1341, 1519, and 3571.



                                                                                                Under chapter 13. you must file with the court a plan
 Chapter 12: Repayment plan for family                                                          to repay your creditors all or part of the money that
             farmers or fishermen                                                               you owe them, usually using your future earnings. If
                                                                                                the court approves your plan, the court will allow you
                                                                                                to repay your debts, as adjusted by the plan, within 3
                   $200        filing fee                                                       years or 5 years, depending on your income and other
÷                    $75        administrative fee                                              factors.
                   $275        total fee
                                                                                                After you make all the payments under your plan,
Similar to chapter 13. chapter 12 permits family farmers                                        many of your debts are discharged. The debts that are
and fishermen to repay their debts over a period of time                                        not discharged and that you may still be responsible to
using future earnings and to discharge some debts that                                          pay include:
are not paid.
                                                                                                       domestic support obligations,

                                                                                                       most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                                  certain taxes,
             income
                                                                                                       debts for fraud or theft,

                    $235       filing fee                                                              debts for fraud or defalcation while acting in a
 +                   $75       administrative fee                                                      fiduciary capacity,
                    $310       total fee
                                                                                                       most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                                   certain debts that are not listed in your
 installments over a period of time and to discharge                                                   bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                               certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                          personal injury, and

                                                                                                       certain long-term secured debts.



Notice Required by II     u.s.c. §   342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 3
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                                                                                                 A married couple may file a bankruptcy case
              Warning: File Your Forms on Time                                                   together—called a joint case. If you file a joint case and
                                                                                                 each spouse lists the same mailing address on the
Section 521(a)(1) of the Bankruptcy Code requires that                                           bankruptcy petition, the bankruptcy court generally will
you promptly file detailed information about your                                                mail you and your spouse one copy of each notice,
creditors, assets, liabilities, income, expenses and                                             unless you file a statement with the court asking that
general financial condition. The court may dismiss your                                          each spouse receive separate copies.
bankruptcy case if you do not file this information within
the deadlines set by the Bankruptcy Code, the                                                    Understand which services you could receive from
Bankruptcy Rules, and the local rules of the court.                                              credit counseling agencies

For more information about the documents and                                                     The law generally requires that you receive a credit
their deadlines, go to:                                                                          counseling briefing from an approved credit counseling
http:/lwww.uscourts.gov/bkforms/bankruptcy form                                                  agency. 11 U.S.C. § 109(h). If you are filing a joint
s. html#proced u re.                                                                             case, both spouses must receive the briefing. With
                                                                                                 limited exceptions, you must receive it within the 180
                                                                                                 days before you file your bankruptcy petition. This
Bankruptcy crimes have serious consequences                                                      briefing is usually conducted by telephone or on the
                                                                                                 Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                          In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                                must complete a financial management instructional
        connection with a bankruptcy case, you may be                                            course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                              filing a joint case, both spouses must complete the
                                                                                                 course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                         You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                        both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                       http:l/iustice.gov/usUeo/hapcpa/ccde/cc approved.html
        other offices and employees of the U.S.
        Department of Justice.
                                                                                                 In Alabama and North Carolina, go to:
Make sure the court has your mailing address                                                     http://www.uscourts.gov/FederalCourts/Bankruptcyl
                                                                                                 BankruptcyResources/ApprovedCredit
The bankruptcy court sends notices to the mailing                                                AndDebtCounselors.aspx.
address you list on Voluntary Petition for Individuals
Filing for Bankruptcy (Official Form 101). To ensure                                             If you do not have access to a computer, the clerk of
that you receive information about your case,                                                    the bankruptcy court may be able to help you obtain
Bankruptcy Rule 4002 requires that you notify the court                                          the list.
of any changes in your address.




Notice Required by II    u.s.c. § 342(b) for Individuals Filing     for Bankruptcy (Form 2010)                                                            page 4
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                                                                United States Bankruptcy Court
                                                                     Western District of Pennsylvania
                  James A. Orlando, II
     In re        Nicole M. Orlando                                                                                Case No.     18-23134
                                                                                    Debtor(s)                      Chapter      7               —




                              DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
         Pursuant to II U.S.C. § 329(a) and Fed. Bankr. P.2016(h). I certify that I am the attorney lhr the above named debtor(s) and that
         compensation paid tome within one year before the tiling of the petition in bankruptcy. or agreed to be paid to me. for services rendered or          0
         be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follo’s:
                  For legal services. I ha’ e agreed to accept                                        .        S                  2500.00
                  Prior to the filing of this statement ( have received                                        S                       0.00
                  Balance Due                                                                                  $           —      2,500.00
2.       The source of the compensation paid tome was:
                  • Debtor            C     Other (specify):

3.       The source of compensation to be paid to me is:
                  • Debtor             C    Other (specify):

4.           •   I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates ofmy law lint,

             C I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
               copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.           In return for the above-disclosed fee. I have agreed to render legal service for all aspects of the bankruptcy ease. including:

         a.      Analysis of the debtors financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy:
         b.      Preparation and filing of any petition. schedules, statement of affairs and plan which may be required:
         c.      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof:
         d.      Representation of [he debtor in adversary proceedings and other contested bankruptcy matters:
         e.      [Other provisions as needed]
                      Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                      reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                      522(f)(2flA) for avoidance of liens on household goods.

6.       By agreement with [he debtor(s), the above-disclosed fee does not include the following service:
                 Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
                 any other adversary proceeding.
                                                                            CERTIFICATION
       I cenif’ that the foregoing is a complete statement of any agreement or arrangement for payment tome for representation of the debtor(s) in
‘this bankruptcy proceeding.

                                                                                   islRobertOLampl_--                             -




       Date                                                                        RobertO Lampl 19809
                                                                                   Signaturr of,I (toll jet’
                                                                                   RobertO Lampl Law Office
                                                                                   Benedum Trees Building
                                                                                   223 Fourth Avenue, 4th Floor
                                                                                   Pittsburgh, PA 15222
                                                                                   412-392-0330 Fax: 412-392-0335
                                                                                   rlampl@lampllaw.com
                                                                                   Aant e of flat finn




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                                                                United States Bankruptcy Court
                                                                      Western District of Pennsylvania
            James A. Orlando, II
  In re     Nicole M. Orlando                                                                            Case No.   18-23134
                                                                                     Debtor(s)           Chapter    7 -   —




                                              VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby veril’ that the attached list of creditors is true and correct to the best of their knowledge.



 Date:     August 30, 2018                                                /s! James A. Orlando, II
                                                                          James A. Orlando, II
                                                                          Signature of Debtor

 Date:
           August      30,   2018
                                                                          Is! Nicole M. Orlando
                                                                          Nicole M. Orlando
                                                                          Signature of Debtor




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                                             .                 Corn                                                            Best Case Bankruptcy
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                      American Express
                      P.O. Box 981537
                      El Paso, TX 79998

                      Artevino, LLC
                      2512 Hawthorne Drive
                      Oakdale, PA 15071

                      Bank of America
                      P.O. Box 31785
                      Tampa, Fl 33631-3785

                      Bai ew
                      4425 Ponce De leon Boulevard
                      Coral Gables, FL 33146

                      Bridgecres t
                      P.O. Box 29018
                      Phoenix, AZ 85038

                      Bridgeway Capital
                      1920 Gulf Tower
                      707 Grant Street
                      PIcDsburgh, PA 15219

                      Chase Card
                      P.O. Box 15298
                      Wilmington, DE 19850

                      Citimortgage
                      P.O. Box 6243
                      Sioux Falls, SD 57117

                      Fifth Third Bank
                      5050 Kingsley Drive, MD 1MOOCOP
                      Cincinnati, OH 45263

                      Fifth Third Bank
                      P0 Box 740778
                      Cincinnati, OH 45274-0778

                      Hill Barth and King
                      400 Broad Street, #1006
                      Sewickley, PA 15143

                      Mr. Cooper
                      P.O. Box 60516
                      City of Industry, CA 91716

                      Nationwide Credit (Chase Bank USA)
                      P.O. Box 14581
                      Des Moines, IA 50306—3581
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                      Painting With A Twist, LLC
                      820 LaFitte Street, Suite 104
                      Mandeville, LA 70448

                      Pamela Schaffner
                      2512 Hawthorne Drive
                      Oakdale, PA 15071

                      PNC Bank
                      P.D. Box 3429
                      Pittsburgh, PA 15230—3429

                      PNC Bank
                      P.O. Box 747056
                      Pittsburgh, PA 15274—7055

                      PNC Bank
                      P.O. Box 5570
                      Cleveland, OH 44101

                      Portfolio Recovery (Capital One)
                      120 Corporate Boulevard, Suite 100
                      Norfolk, VA 23502

                      PWS A
                      P.O. Box 747055
                      Pittsburgh, PA 15274—7055

                      Seterus Inc.
                      14523 SW Millikan Way, Suite 200
                      Beaverton, OR 97005

                      SheilPoint
                      55 Beattie Place, Suite 500
                      Greenville, SC 29601

                      Sinfully Artistic, LLC
                      310 Windsor Drive
                      Coraopolis, PA 15108
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      EMPLOYEE INCOME RECORD
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rtnovMAL AMU UflCifl ifltUflaAhiuM                        Doc 23     Filed 08/30/18 Entered 08/30/18 15:54:10
                                                              CAflflINWD                                            Desc Main
JAMES A ORLANDO                                                   Document       Page 57 of 58 HR&
                                                                                 DESCRIPTION        RATE   CURRENT(S)    VT!) HR&     VII) (5)
310 WINDSOR DRIVE                                                                                  UNITS                   UNITS
CORAOPOLIS, PA 15108

                                                                                 REGULAREARNING                313847               53107.83
Soc   Sect:                                                                      SCNUS                                                827.00
Hire Date:    G,,j   I, Il                                                       VACATION                                   32.00
Status: FT                                                                       HEALTH INSURANC               -220.00              -3740.00
Filing Status:                                                                   EE4OII<                       -155.92              -2696.71
Federal: Married, 0                                                              VISION PRETAX                   -7.20                -122.40
State: PA, Married, 0
Dept: 57025                                                                      HOURS WORKED
                                                                                 ADJ EARNINGS                  2754.35              47375.72
Pay PerIod: 07/29/18 to 08/11/18                                                 GROSS EARNINGS                             32,00
                                                                                                               3138,47              53934,83
Chock Date: 08/17/18      Check #:            Direct Deposit
TIME OFF (Based On Policy Year)                                   WITHHOLDINGS   DESCRIPTION               CURRENT(s)                 VT!) (5)

DESCRIPTION                                                                      FEDERAL W/H                    262.56               4505.39
VACATION-HOURS                                                                   OASDI                          160.50               3104.49
   TOTAL BAL                                                                     MEDICARE                        42.21                726.05
       88000                                                                     STATEWIHPA                      89.38               1537.29
                                                                                 STATESUIPA                       1.88                 32.33
NET PAY ALLOCATIONS                                                              PA OI6SNBUThC                   29.11                500.70
                                                                                 PA 3422-L8UBI                    2.00                 34.00
DESCRIPTION                         CURRENT ($)         VYD (5)
Check Amount                               000          66136                    TOTAL                          607.64              10440.25
CHECKING NET                            2146.71       36254.11
Net Pay                                 2146.71       35935.47




                                                                                                           CURRENT(S)                 VTD (5)
                                                                  NET PAY
                                                                                                               2146.71              36935.47
Paymlls   by Paychex,        InC.
          45 BUTLER TECHNOLOGIES INC              —
           Case 18-23134-GLT                 Doc 23        Filed 08/30/18 Entered 08/30/18 15:54:10                               Desc Main
                CO      FILE       DEPT      CLOCK      VCHR NO    056
                                                          Document     Page 58 of 58
                                   900                  0000300050    I                      Earnings Statement
                NATIONAL AVIARY IN PITTSBURGH                                                Period Ending:             07/1 5/20 18
                WEST OHIO AND ARCH STREETS                                                   Pay Date:                  07/3 112018
                PITTSBURGH, PA 15212



                Taxable Mantal Status:       Married                                             NICOLE ORLANDO
                Exemplions/Mowances:                                                             310 WINDSOR DRIVE
                  Federal:          0
                  PA:               NIA                                                          MOON TOWNSHIP PA 15108



Earnings                 rate        hours         this period            year to date       Other Benefits     and
Regular              31.0500        49.75              1,544.74                              Information                    this period   total   to date
Plo                                                                          1,366.22        Pto                                 4.29
               Gross Pay                          $1,544.74                 15,327.61


Deductions     Statutory
               Federal Income Tax                       —111.74                856.98
               Social Security Tax                       —95.77                950.31
               Medicare Tax                              —22.40                222.25
               PA State Income Tax                       —47.42                462.87
               Pittsburgh C Income Tax                   —15.45                150.77
               PA SUI/SDI Tax                             —0.93                  9.20
               Other
               Lst                                        —2 17                  30.38
               Net Pay                             $1,248.B6
               Check                               —1,248.86
               Net Check                                  $O.OQ



                 Your federal taxable wages this period are
                 $1,544.74




                NATIONAL AVIARY IN PITTSBURGH                                                Advice number:
                WEST OHIO AND ARCH STREETS                                                   Pay date:                      07/31/2018
                PITTSBURGH, PA 15212


                Deposited       to the account    of                                     a   account   number     transit   ABA               amount
                NICOLE ORLANDO                               —                               xxxxx                    xxxx xxxx             $1,248.86




                                                                                                        NON-NEGOTIABLE
